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     EXHIBIT A
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                                                                                                      USOO9426452B2


(12) United States Patent                                                (10) Patent No.:                                     US 9.426,452 B2
       Jacobs et al.                                                     (45) Date of Patent:                                       Aug. 23, 2016

(54) FASTER STATE TRANSITIONING FOR                                             GO2B 26/02                              (2006.01)
        CONTINUOUSADUSTABLE3DEEPS                                               GO2B 27/0                               (2006.01)
        FILTER SPECTACLES USING                                                 GO2B 27/22                              (2006.01)
        MULTI-LAYERED VARIABLE TNT                                              GO2C 7/10                               (2006.01)
        MATERLALS                                                               H04N I3/00                              (2006.01)
(71) Applicants: Kenneth Martin Jacobs, New York, NY                    GO2C 7700               (2006.01)
                 (US); Ronald Steven Karpf, Corvallis,                  GO2C II/00              (2006.01)
                 OR (US)                                                HO4N 13/02              (2006.01)
(72) Inventors: Kenneth Martin Jacobs, New York, NY                (52) U.S. Cl.
                 (US); Ronald Steven Karpf, Corvallis,                  CPC .......... H04N 13/0431 (2013.01); G02B 26/026
                 OR (US)                                                            (2013.01); G02B 27/017 (2013.01); G02B
(*) Notice:          Subject to any disclaimer, the term of this                                "El St.
                     past list: sited under 35                                              (2013.01); G02C 7700 (2013.01); G02C 7/101
                         M YW-                                                                        (2013.01); G02C II/10 (2013.01); H04N
(21) Appl. No.: 14/850,750                                                                  13/0033 (2013.01); H04N 13/0422 (2013.01);
(22) Filed:     Sep. 10, 2015                                                                  H04N 13/0425 (2013.01); H04N 13/0429
                                    O       O                                                  (2013.01); H04N 13/0438 (2013.01); H04N
(65)                Prior Publication Data                                                  13/0454 (2013.01); H04N 13/0497 (2013.01);
        US 2016/OOO7O12 A1     Jan. 7, 2016                                                     G02B 2027/014 (2013.01); H04N 13/026
             Related U.S. Application Data                                        (2013.01); H04N 13/0434 (2013.01); H04N
(60) Continuation of application No. 14/451,048, filed on                             2013/0077 (2013.01); H04N 2013/0096
     Aug. 4, 2014, now Pat. No. 9,167.235, which is a                           (2013.01); H04N2213/002 (2013.01); H04N
     continuation of application No. 14/155,505, filed on                                                    2213/008 (2013.01)
     Jan. 15, 2014, now Pat. No. 8,864,304, which is a             (58) Field of Classification Search
     continuation of application No. 13/746,393, filed on               CPC ... G02B 2027/0178; G02C 7700; G02C 7/083
     Jan. 22, 2013, now Pat. No. 8,657,438, which is a                  USPC ............ 351/.49, 159.03, 158,41, 52, 51, 163;
     continuation of application No. 12/938,495, filed on                                      34.9/13, 96; 359/465,490, 63, 83
        Nov. 3, 2010, now abandoned, which is a division of                     See application file for complete search history.
        application No. 12/555,545, filed on Sep. 8, 2009, now
        Pat. No. 7,850,304, which is a continuation-in-part of     (56)                                  References Cited
        now     Pat.      No.    7,604,348,     which    is   a
        continuation-in-part of application No. 1 1/928, 152,              9,167.235 B2 * 10/2015 Jacobs ................. GO2B 26,026
        filed on Oct. 30, 2007, now Pat. No. 7,508,485, and a
        continuation-in-part of application No. 1 1/373,702,       Primary Examiner — Hung Dang
        filed on Mar 10, 2006, now Pat No. 7405,801, said          (74) Attorney, Agent, or Firm Lucas & Mercanti, LLP:
        application No. 11/928,152 is a continuation-in-part of    Donald C. Lucas
        application No. 1 1/372,723, filed on Mar. 10, 2006,
        appeal. No               7,522,257, which is a             (57)                                       ABSTRACT
     continuation-in-part of application No. 10/054,607,           An electrically controlled spectacle includes a spectacle
     filed on Jan. 22, 2002, now Pat. No. 7,030,902.               frame and optoelectronic lenses housed in the frame. The
(60) Provisional application No. 60/664,369, filed on Mar.         lenses include a left lens and a. right lens, each of the opto
     23, 2005, provisional application No. 60/263,498,             electrical lenses having a plurality of states, wherein the state
        filed on Jan. 23, 2001, provisional application No.        ofthe left lens is independent of the state of the right lens. The
        60/66 1847, filed O Mar 15, 2005                           electrically controlled spectacle also includes a control unit
               sy-   s            • u a-s                          housed in the frame, the control unit being adapted to control
(51) Int. Cl.                                                      the state of each of the lenses independently.
        GO2C 7/4                 (2006.01)
        H04N I3/04               (2006.01)                                                  4 Claims, 30 Drawing Sheets

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                                                                     " signal
                                                                         Receiving
                                                                         Unit   2                               Power
                                                                                            Control              Unit   301
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                                                                                303 I                   205
                                                                                     Left             Right
                                                                                     Lens             Lens
                                                                                                       (5
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                                            Fig. 19A




    :38.3%. 83 &g:        &       88.8 x 3 k3      8    88:      3;{
                                           Fig. 198
                                         R388:::: 33.83 E.
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                                  Fig. 208
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                              Fig. 228
                           $83,388,883: $$$$.
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                              Fig. 23B
                           R&38        SSS
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                                      Fig. 24
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                                  Fig. 26A
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                      s           Fig. 27A           88




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                                  Fig. 278
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                                                      US 9,426,452 B2
                               1.                                                               2
        FASTER STATE TRANSTONING FOR                            ticle devices, and polymer dispersed liquid crystal devices.
        CONTINUOUSADUSTABLE 3DEEPS                              Such material provides precise electronic control over the
            FILTER SPECTACLES USING                             amount of light transmission.
         MULTI-LAYERED VARIABLE TNT                                3Deeps spectacles adjust the optical properties so that the
                   MATERALS                                     left and right lenses of the 3Deeps spectacles take on one of 3
                                                                states in synchronization to lateral motion occurring within
            CROSS REFERENCE OF RELATED                          the movie; a clear-clear state (clear left lens and clear right
                       APPLICATIONS                             lens) when there is no lateral motion in Successive frames of
                                                                the motion picture; a clear-darkened state when there is left
   This application is a Continuation of U.S. patent applica 10 to-right  lateral motion in Successive frame of the motion
tion Ser. No. 14/451,048, filed Aug. 4, 2014, which is a lateral motiona darkened-clear
                                                                picture; and,                   state when there is right-to-left
                                                                                 in Successive frames of the motion picture.
Continuation of U.S. patent application Ser. No. 14/155,505,
filed on Jan. 15, 2014, which is a Continuation of U.S. patent willWeblock
                                                                       note that clear is a relative term and even clear glass
                                                                             a small percentage of light transmission. A clear
application Ser. No. 13/746,393, now U.S. Pat. No. 8,657, 15 lens is then one that transmits almost all light through the
438, filed on Jan. 22, 2013, which is a Continuation of U.S.            material.
patent application Ser. No. 12/938,495, filed on Nov. 3, 2010,            Continuous Adjustable 3Deeps Filter spectacles are
which is a Division of U.S. patent application Ser. No. 12/555,         improved 3Deeps spectacles in that the darkened State con
545, now U.S. Pat. No. 7,850,304, filed on Sep. 8, 2009,                tinuously changes to take an optical density to provide the
which is a Continuation-In-Part application of U.S. patent              maximum Pulfrich stereoscopic 3D illusion optimized for (a)
application Ser. No. 12/274,752, now U.S. Pat. No. 7,604,               the speed and direction of lateral motion, and (b) the transi
348, filed on Nov. 20, 2008, which is in turn a Continuation            tion time of the electrochromic material from which the
In-Part application of U.S. patent application Ser. No. 1 1/928,        lenses are fabricated.
152, now U.S. Pat. No. 7,508,485, filed on Oct. 30, 2007. U.S.         The problem addressed by the preferred embodiment of
patent application Ser. No. 12/274,752 is also a Continuation 25 this invention is that of slow transition time when transition
In-Part of U.S. patent application Ser. No. 1 1/373,702, now ing between different optical densities of the lenses of the
U.S. Pat. No. 7,405,801 filed Mar. 10, 2006. U.S. patent Continuous Adjustable 3Deeps Filter spectacles. Optimal
application Ser. No. 1 1/928,152 is also a Continuation-In control of Continuous Adjustable 3Deeps Filter spectacles is
Part of U.S. patent application Ser. No. 1 1/372,723, now U.S. achieved by adjusting the right- and left-lenses to the optimal
Pat. No. 7,522,257 filed on Mar. 10, 2006, which claims 30 optical density synchronized to maximize the 3D effect of the
priority of U.S. Provisional Application No. 60/664,369 filed Pulfrich illusion between frames of the motion picture with
on Mar. 23, 2005 and is a Continuation-In-Part application of respect to the transition time properties of the electrochromic
the U.S. application Ser. No. 10/054,607, now U.S. Pat. No. material. As an example, a movie that is shown on a 100 Hz
7,030,902, filed on Jan. 22, 2002, which in turn claims prior digital TV may require as many as 100 different optical den
ity of U.S. Provisional Application No. 60/263,498 filed on 35 sity controlled lens transitions per second to optimally Syn
Jan. 23, 2002. The based application, U.S. patent application chronize to the speed and direction of lateral motion in the
Ser. No. 1 1/373,702 filed on Mar. 10, 2006, claims priority of motion picture. Most often the transitions in synchronization
U.S. Provisional Application No. 60/661,847 filed on Mar. to the movie are small minor adjustments to the optical den
15, 2005. The entire contents of each of the above applica sity of the lens that can be accomplished in the allotted time.
tions are being herein incorporated by reference for all pur 40 A problem arises when 3 Deeps Filter spectacles are fabri
poses.                                                              cated from electronically controlled variable tint materials
                                                                    that are incapable of the fast transition times that are some
                     TECHNICAL FIELD                                times required as for instance between scene changes. While
                                                                    electronically controlled variable tint materials may be able to
   This invention relates to the field of motion pictures and to 45 achieve fast transitions from one optical density state to
a system called 3Deeps that will allow almost any motion another optical density state that are near or close to each
picture filmed in 2D (single image) to be viewed with the other, it may be incapable of transition between optical den
visual effect of 3-dimensions when viewed through 3Deeps sity states that are far apart. However, faster transition times
Filter Spectacles. More specifically, the invention relates to using any electronically controlled variable tint material can
the presentation of motion pictures and to the use of multiple 50 be achieved by the simple expedient of using 2 or more
layers of electronically controlled variable tint materials to layers—or multi-layers—of Such material. Using multiple
fabricate the right and left lenses of the 3Deeps Filter Spec layers of material does result in a darker clear state, but the
tacle to achieve faster transition times than may be achieved difference is minimal and barely perceptible, so the tradeoff
by the use of only a single layer.                                  between a slightly darker clear state and faster transition time
                                                                   55   is considered and warranted.
          BACKGROUND OF THE INVENTION                            Another problem relates to the cycle life (number of
                                                               clear-dark cycles before failure) of some optoelectronic mate
   This invention directs to Continuous Adjustable 3Deeps rials that may be limited. The cycle life may be increased by
Filter spectacles for viewing 2D movies as 3D movies. Pre using multiple layers of optoelectronic materials since the
viously, related patent applications for Continuous Adjust 60 electric potential applied to the material to achieve a target
able 3Deeps Filter spectacles have been disclosed that use optical density will be for a shorter period of time.
electronically controlled variable tint materials for fabrica    Another problem addressed by an alternate embodiment of
tion of the right and left lenses of the viewing spectacles. this invention is that different methods of 3D require distinct
Generally, electronically controlled variable tint materials viewing spectacles. However, with electronically controlled
change the light transmission properties of the material in 65 viewing spectacles, a single viewing spectacle can be switch
response to Voltage applied across the material, and include selectable for different optical effects. For instance, to view a
but are not limited to electrochromic devices, Suspended par 3D movie that uses the anaglyph method to achieve 3D ste
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reoscopy requires use of a different pair of spectacles (red          been likened to a form of puppetry); the physical shifting of
blue lenses) than that used for 3Deeps viewing. Other pre             one of the two projections changes the visual relationship
ferred embodiments of the invention relate to multi-use of the        between them and thereby the character of the screen event
spectacles. The use of multi-layers of electronically con produced. Similarly, Small changes during performance in
trolled variable tint materials where different layers relate to speed, placement and direction of propeller spin will cause
different viewing methods, allow a single spectacle to be radical changes in the visual event produced onscreen.
selectable to achieve different optical effects. For instance,           Other visual arts which relate to the present invention are
while one or more layers of electronically controlled variable the Pulfrich filter. For one program, titled “Bitemporal
tint materials may be used for Continuous Adjustable 3Deeps Vision: The Sea’, viewers were invited to place a Pulfrich
Filter spectacles, another layer of materials may be used for 10 light-reducing filter before one eye to both enhance and trans
anaglyph 3D spectacles. This would extend the use of a single form the already apparent depth character of the presentation.
pair spectacles so it can be selectively used for either Con             Limited to presentation in live performance. Such unique
tinuous Adjustable 3Deeps Filter spectacles viewing of 2D visual phenomena as described has been transient theater.
filmed movies or for anaglyph viewing of 3D filmed movies. Attempts to capture the phenomena by way of video-camera
It would also allow Switching within any motion picture 15 recording of the screen-image have been disappointingly
between 2D and 3D for a specific method, and/or switching compromised, so that—in over 25 years of Such presentation
within any motion picture between different methods of 3D.            (of so-called “Nervous System Film Performances”) no
Till now a 3D motion picture may have been filmed in its attempt has been made to commercialize such recordings.
entirety as anaglyph. With this invention the motion picture
could have been filmed in part 2D with the multi-layer specs                       SUMMARY OF THE INVENTION
then set by signalization to a clear-clear state, and another part
of the motion picture could have been filmed in 3D anaglyph              A method has now been discovered for originating visual
with the multi-layer spectacles then set by signalization to a illusions of figures and spaces in continuous movement in any
red-blue state. In another embodiment the picture may be chosen direction using a finite number of pictures (as few as
filmed in part in 2D and 3Danaglyph, and shown to viewers 25 two pictures) that can be permanently stored and copied and
in 2D, 3D using 3Deeps spectacle, and 3D anaglyph with the displayed on motion picture film or electronic media. The
spectacles set accordingly.                                           method of the present invention entails repetitive presentation
                                                                      to the viewer of at least two Substantially similar image pic
                                                                      tures alternating with a third visual interval or bridging pic
                                                                   30 ture that is substantially dissimilar to the other substantially
   Movies are generally made from a series of single, non similar pictures in order to create the appearance of continu
repetitive pictures which are viewed at a speed that provides ous, seamless and sustained directional movement.
the viewer with the appearance of continuous movement.                   Specifically, two or more image pictures are repetitively
These series of single pictures are positioned in adjacent presented together with a bridging interval (a bridging pic
picture frames, in sequential order, wherein adjacent pictures 35 ture) which is preferably a solid black or other solid-colored
are substantially similar to each other and vary only slightly picture, but may also be a strongly contrasting image-picture
from each other. Usually, movies are created using movie readily distinguished from the two or more pictures that are
cameras, which capture the actual movement of the object;             Substantially similar. In electronic media, the bridge-picture
with animated movies, a series of individual pictures or cells may simply be a timed unlit-screen pause between serial
are created, usually by hand or computer, and assembled in 40 re-appearances of the two or more similarimage pictures. The
sequential order where adjacent pictures of a scene are sub rolling movements of pictorial forms thus created (figures
stantially similar to each other and vary only slightly. Stan that uncannily stay in place while maintaining directional
dard film projection is 24 frames per second, American video movement, and do not move into a further phase of movement
standard NTSC is 30 fp.s.                                             until replaced by a new set of rotating units) is referred to as
   The appearance of continuous movement, using only two 45 Eternalisms, and the process of composing Such visual events
Substantially similar pictures, has been accomplished in live is referred to as Eternalizing.
performance by simultaneous projection of both images onto               The three film or video picture-units are arranged to strike
a screen, wherein one picture may be slightly off-set from the the eyes sequentially. For example, where A and B are the
other picture as they appear on the screen, and by rotating a image pictures and C is the bridging picture, the picture units
two-bladed propeller, wherein the propellerblades are set off 50 are arranged (A, B, C). This arrangement is then repeated any
from one another by 180 degrees, in front of and between the number of times, as a continuing “loop'. The view of this
two projectors such that the two images are made to both continuing loop allows for the perception of a perceptual
alternate and overlap in their appearances, with both images combining and Sustained movement of image pictures (A,B).
in turn alternating with an interval of complete darkness Naturally, if this loop is placed on a film strip, then it is
onscreen when both projections are blocked by the spinning 55 arranged and repeated in a linear manner (A, B, C, A, B, C, A,
propeller. A viewer, using no special spectacles or visual aids,      B, C, A, B, C, etc.). The repetition of the sequence provides an
perceives a scene of limited action (with a degree of illusion illusion of continuous movement of the image pictures (A,
ary depth) that can be Sustained indefinitely in any chosen B); with bridging picture (C), preferably in the form of a
direction: an evolving yet limited action appears to be hap neutral or black frame, not consciously noticed by the viewer
pening continually without visible return-and-start-over rep 60 at all, except perhaps as a subtle flicker.
etition. Thus the viewer sees a visual illusion of an event             A more fluid or natural illusion of continuous movement
impossible in actual life. Similarly, the manner in which from a finite number of image pictures is provided by using
things appearin depth are likely to beat odds, often extremely two of each of the three pictures and repeating the cycle of the
So, with the spatial character of the original photographed pairs sequentially, or by blending adjacent pictures together
scene. Further, the character of movement and of depth has 65 on an additional picture-frame and placing the blended pic
been made malleable in the hands of the projectionist during ture between the pictures in sequential order. The two image
performance (So much so that such film-performance has pictures (A, B) are now blended with each other to produce
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(A/B); the two image pictures are also blended with the bridg       More than two image pictures can be used in the invention.
ing picture to produce (C/A and B/C), and then all pictures Likewise, more than one bridging picture can be used in the
repeat in a series starting with the bridging picture (C,C/A, A, present invention. For example, four image pictures can be
A/B, B, B/C) each blended picture being represented by the used along with one bridging picture. In this case, the series
two letters with a slash therebetween). This series is repeated 5 for the four image pictures, designated A, B, D and E, would
a plurality of times to Sustain the illusion as long as desired. be: C, A, B, D, E: or a 50/50 blend C, C/A, A, A/B, B, B/D, D,
Repeating the sequence with additional blended frames pro D/E, E, E/C; or side-by-side pairs, C, C, A, A, B, B, D, D, E,
                                                                     E.
vides more fluid illusion of continuous movement of the
(optically combined) two image pictures (A, B).                       The image picture need not fill the picture frame. Further
                                                                10 more, more than one image picture can be employed per
   Additionally, various arrangements of the pictures and the
blends can be employed in the present invention and need not frame.        Thus, the picture frame can contain a cluster of images
be the same each time. By varying the order of pictures in the and      the image or images need not necessarily filling up the
                                                                   entire frame. Also, only portions of image pictures can be
sequence, the beat or rhythm of the pictures is changed. For used        to form the image used in the present invention.
example, A, B, C can be followed by A. A/B, B, B/C, C which 15 Also, image pictures and portions of the image picture can
in turn is followed by A, A, A/B. B. B. B. B/C, C, C, C, C, i.e. be combined Such that the combination is used as the second
A, B, C, A, A/B, B, B/C, C, A, A, A/B, B, B, B, B/C, B/C, C,       image picture. The portion of the image picture is offset from
C, C, C, A, B, C, A, etc.                                          the first image picture when they are combined such that there
   With A and B frames being similar images (such as a pair is an appearance of movement. For example, a window from
of normal two-eye perspective views of a three-dimensional image picture A can be moved slightly while the background
scene from life), and frame C a contrasting frame (preferably remains the same, the picture with the moved window is
a solid-color picture instead of an image-picture) relative to designated image picture B and the two combined to create
A.B. frame C acts as essentially a “bridge-interval' placed the appearance of the window moving and/or enlarging or
between recurrences of A.B. Any color can be used for the shrinking in size. In this case, both picture A and picture Bare
contrasting frame C. for example, blue, white, green; how 25 identical except for the placement of the window in the image
ever, black is usually preferred. The contrasting frame can picture. The same can also be done by using an identical
also be chosen from one of the colors in one of the two image background in both image pictures and Superimposing on
pictures. For example, if one of the image pictures has a large both pictures an image which is positioned slightly different
patch of dark blue, then the color of the contrasting frame, in each picture. The image could be a window, as before, of a
bridging picture, may be dark blue.                             30 man walking, for example.
   Blending of the pictures is accomplished in any manner             The number of series which are put together can be finite if
which allows for both pictures to be merged in the same it is made on a length of film or infinite if it is set on a
picture frame. Thus, the term “blending as used in the speci continuous cycle or loop wherein it repeats itself.
fication and claims can also be called Superimposing, since           In accordance with an embodiment, an electrically con
one picture is merged with the other picture. Blending is done 35 trolled spectacle for viewing a video is provided. The electri
in a conventional manner using conventional equipment, Suit cally controlled spectacle includes a spectacle frame and
ably, photographic means, a computer, an optical printer, or a optoelectronic lenses housed in the frame. The lenses com
rear screen projection device. For animated art, the blending prise a left lens and a right lens, each of the optoelectrical
can be done by hand as in hand drawing or hand painting. lenses having a plurality of states, wherein the state of the left
Preferably, a computer is used. Suitable software programs 40 lens is independent of the state of the right lens. The electri
include Adobe Photoshop, Media 100 and Adobe After cally controlled spectacle also includes a control unit housed
Affects. Good results have been obtained with Media 100            in the frame, the control unit being adapted to control the state
from Multimedia Group Data Translations, Inc. of Marlbor of each of the lenses independently.
ough, Mass., USA.                                                     In one embodiment, each of the lenses has a dark State and
   When using Media 100, suitable techniques include addi 45 a light state.
tive dissolving, cross-dissolving, and dissolving-fast fix and        In another embodiment, when viewing a video the control
dither dissolving.                                                 unit places both the left lens and the right lens to a dark state.
   In blending the pictures, it is preferred to use 50% of one        In another embodiment, a method for viewing a video is
and 50% of the other. However, the blending can be done on provided. A user wears the electrically controlled spectacle
a sliding scale, for example with three blended pictures, a 50 described above, and the wearer is shown a video having
sliding scale of quarters, i.e. 75% A/25% B, 50% A/50% B, dissimilar bridge frames and similar image frames.
25% Af75% B. Good results have been obtained with a 50%f                  In accordance with another embodiment, a first modified
50% mix, i.e. a blend of 50% A/50% B.                              image frame is determined by removing a first portion of a
   The two image pictures, A and B, which are visually simi selected image frame. A second modified image frame differ
lar to each other, are preferably taken from side-by-side frame 55 ent from the first modified image frame is determined by
exposures from a motion picture film of an object or image or removing a second portion of the selected image frame. A
that is moving such that when one is overlaid with the other, third modified image frame different from the first and second
only a slight difference is noted between the two images.          modified image frames is determined by removing a third
   Alternatively, the two image pictures are identical except portion of the selected image frame. A first bridge image
that one is off-center from the other. The direction of the 60 frame different from the selected image frame and different
off-center, e.g. up, down, right, or left, will determine which from the first, second, and third modified image frames is
direction the series provides the appearance of movement, determined. A second bridge image frame different from the
e.g. if image picture B is off-center from image picture A to selected image frame, different from the first, second, and
the right of A, the series of C, C/A, A, A/B, B, B/C will have third modified image frames, and different from the first
the appearance of moving from left to right. Likewise, if you 65 bridge image frame is determined. The first bridge image
reverse the order of appearance then the appearance of move frame is blended with the first modified image frame, gener
ment will be to the left.                                          ating a first blended image frame. The first bridge image
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frame is blended with the second modified image frame,           removing a second portion of the selected image frame. A
generating a second blended image frame. The first bridge        third modified image frame different from the first and second
image frame is blended with the third modified image frame,      modified image frames is determined by removing a third
generating a third blended image frame. The first blended        portion of the selected image frame. A bridge image frame
image frame, the second blended image frame, and the third       different from the selected image frame and different from the
blended image frame are overlaid to generate an overlayed        first, second, and third modified image frames is determined.
image frame. The overlayed image frame and the second            The first modified image frame, the second modified image
bridge image frame are displayed.                                frame, and the third modified image frame are overlaid, to
  In one embodiment, the first bridge image frame comprises      generate an overlayed image frame. The overlayed image
a non-Solid color.                                            10
   In another embodiment, each of the optoelectronic lenses frame   In
                                                                          and the bridge image frame are displayed.
                                                                        accordance    with another embodiment, a bridge image
comprises a plurality of layers of optoelectronic material.
   In accordance with another embodiment, a first modified       frame    that is different from a first image frame and different
image frame is determined by removing a first portion of a       from   a second   image  frame is determined, the first and second
selected image frame. A second modified image frame differ    15 image    frames   being  consecutive  image frames in a video. A
ent from the first modified image frame is determined by first modified image frame is determined by removing a first
removing a second portion of the selected image frame. A portion of the first image frame. A second modified image
third modified image frame is determined by removing a third frame different from the first modified image frame is deter
portion of the first modified image frame. A fourth modified mined by removing a second portion of the first image frame.
image frame different from the third modified image frame is A third modified image frame different from the first and
determined by removing a fourth portion of the first modified second modified image frames is determined by removing a
image frame. A fifth modified image frame different from the third portion of the first image frame. The first, second, and
third and fourth modified image frames is determined by third modified image frames are overlaid to generate a first
removing a fifth portion of the first modified image frame. A overlayed image frame. The first overlayed image frame and
sixth modified image frame is determined by removing a sixth 25 the bridge image frame are displayed. A fourth modified
portion of the second modified image frame. A seventh modi image frame is determined by removing a fourth portion of
fied image frame different from the sixth modified image the second image frame. A fifth modified image frame differ
frame is determined by removing a seventh portion of the ent from the fourth modified image frame is determined by
second modified image frame. An eighth modified image removing a fifth portion of the second image frame. A sixth
frame different from the sixth and seventh modified image 30 modified image frame different from the fourth and fifth
frames is determined by removing an eighth portion of the modified image frames is determined by removing a sixth
second modified image frame. A first bridge image frame portion of the second image frame. The fourth, fifth, and sixth
different from the first and second modified image frames is modified image frames are overlaid to generate a second
determined. A second bridge image frame different from the overlayed image frame. The second overlayed image frame
first and second modified image frames, and different from 35 and the bridge image frame are displayed.
the first bridge image frame is determined. A third bridge          In accordance with another embodiment, a first modified
image frame different from the first and second modified image frame is determined by removing a first portion of a
image frames, and different from the first and second bridge selected image frame. A second modified image frame differ
image frames is determined. A fourth bridge image frame ent from the first modified image frame is determined by
different from the first and second modified image frames, 40 removing a second portion of the selected image frame. A
and different from the first, second and third bridge image third modified image frame different from the first and second
frames is determined. A first blended image frame is gener modified image frames is determined by removing a third
ated by blending the third modified image frame with the first portion of the selected image frame. A first bridge image
bridge image frame. A second blended image frame is gen frame different from the first, second, and third modified
erated by blending the fourth modified image frame with the 45 image frames is determined. A second bridge image frame
second bridge image frame. A third blended image frame is different from the first, second, and third modified image
generated by blending the fifth modified image frame with the frames, and different from the first bridge image frame is
third bridge image frame. The first blended image frame, the determined. A third bridge image frame different from the
second blended image frame, the third blended image frame, first, second, and third modified image frames, and different
and the fourth bridge image frame are displayed. A fourth 50 from the first and second bridge image frames is determined.
blended image frame is generated by blending the sixth modi A fourth bridge image frame different from the first, second,
fied image frame with the first bridge image frame. A fifth and third modified image frames, and different from the first,
blended image frame is generated by blending the seventh second and third bridge image frames is determined. The first
modified image frame with the second bridge image frame. A modified image frame is blended with the first bridge image
sixth blended image frame is generated by blending the 55 frame to generate a first blended image frame. The second
eighth modified image frame with the third bridge image modified image frame is blended with the second bridge
frame. The fourth blended image frame, the fifth blended image frame to generate a second blended image frame. The
image frame, the sixth blended image frame, and the fourth third modified image frame is blended with the third bridge
bridge image frame are displayed.                                image frame to generate a third blended image frame. The
   In one embodiment, the fourthbridge image frame is solid 60 first blended image frame, the second blended image frame,
white, and the spectacle frame comprises a sensor adapted to and the third blended image frame are overlaid to generate an
receive synchronization signals embedded in the video and overlayed image frame. The overlayed image frame and the
provide the synchronization signals to the control unit.         fourth bridge image frame are displayed.
   In accordance with another embodiment, a first modified          In one embodiment, the fourthbridge image frame is solid
image frame is determined by removing a first portion of a 65 white, and the spectacle frame comprises a sensor adapted to
selected image frame. A second modified image frame differ receive synchronization signals embedded in the video and
ent from the first modified image frame is determined by provide the synchronization signals to the control unit.
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   In accordance with another embodiment, a first modified            portion of a first image frame into a second image frame,
image frame is determined by removing a first portion of a reshaping a portion of an image frame, and relocating a por
selected image frame. A second modified image frame differ tion of an image frame.
ent from the first modified image frame is determined by                 In accordance with an embodiment, an apparatus includes
removing a second portion of the selected image frame. A 5 a storage adapted to store one or more image frames, and a
third modified image frame is determined by removing a third processor. The processor is adapted to determine a first modi
portion of the first modified image frame. A fourth modified fied image frame by removing a first portion of a selected
image frame different from the third modified image frame is image frame, determine a second modified image frame dif
determined by removing a fourth portion of the first modified 10 ferent from the first modified image frame by removing a
image frame. A fifth modified image frame different from the modified second portion of the selected image frame, determine a third
third and fourth modified image frames is determined by modified image          image frame different from the first and second
removing a fifth portion of the first modified image frame. A selected image frame,     frames by removing a third portion of the
sixth modified image frame is determined by removing a sixth different from the selected       determine a first bridge image frame
                                                                                                   image frame and different from the
portion of the second modified image frame. A seventh modi 15 first, second, and third modified image frames, determine a
fied image frame different from the sixth modified image second bridge image frame different from the selected image
frame is determined by removing a seventh portion of the frame, different from the first, second, and third modified
second modified image frame. An eighth modified image image frames, and different from the first bridge image frame,
frame different from the sixth and seventh modified image blend the first bridge image frame with the first modified
frames is determined by removing an eighth portion of the image frame, generating a first blended image frame, blend
second modified image frame. A first bridge image frame the first bridge image frame with the second modified image
different from the first, second, third, fourth, fifth, sixth, sev    frame, generating a second blended image frame, blend the
enth, and eight modified image frames is determined. A sec first bridge image frame with the third modified image frame,
ond bridge image frame different from the first bridge image generating a third blended image frame, overlay the first
frame and different from the first, second, third, fourth, fifth, 25 blended image frame, the second blended image frame, and
sixth, seventh, and eight modified image frames is deter the third blended image frame to generate an overlayed image
mined. The first bridge image frame is blended with the third frame, display the overlayed image frame, and display the
modified image frame to generate a first blended image second bridge image frame.
frame. The first bridge image frame is blended with the fourth 30 In one embodiment, the apparatus also includes an electri
modified image frame to generate a second blended image trically      cally controlled spectacle to be worn by a viewer. The elec
frame. The first bridge image frame is blended with the fifth electronic      controlled spectacle includes a spectacle frame, opto
modified image frame to generate a third blended image left lens and             lenses housed in the frame, the lenses comprising a
frame. The first blended image frame, the second blended having a plurality          a right lens, each of the optoelectrical lenses
image frame, and the third blended image frame are overlaid 35 independent of theofState    states, wherein the state of the left lens is
                                                                                                 of the right lens, and a control unit
to generate a first overlayed image frame. The first overlayed housed in the frame, the control         unit being adapted to control
image frame and the second bridge image frame are dis the state of each of the lenses independently. Each of the
played. The first bridge image frame is blended with the sixth lenses has a dark State and a light state, and when viewing a
modified image frame to generate a fourth blended image video the control unit places both the left lens and the right
frame. The first bridge image frame is blended with the sev 40 lens to a dark State.
enth modified image frame to generate a fifth blended image              In another embodiment, the first bridge image frame com
frame. The first bridge image frame is blended with the eighth prises a non-solid color.
modified image frame to generate a sixth blended image                   In accordance with another embodiment, an apparatus
frame. The fourth blended image frame, the fifth blended includes a storage adapted to store one or more image frames,
image frame, and the sixth blended image frame are overlaid 45 and a processor. The processor is adapted to determine a first
to generate a second overlayed image frame. The second modified image frame by removing a first portion of a
overlayed image frame and the second bridge image frame selected image frame, determine a second modified image
are displayed.                                                        frame different from the first modified image frame by
   In one embodiment, the first bridge image frame comprises removing a second portion of the selected image frame, deter
a non-Solid color.                                                 50 mine a third modified image frame by removing a third por
   In accordance with another embodiment, one or more of tion of the first modified image frame, determine a fourth
the following actions may be performed in performing one or modified image frame different from the third modified
more of the methods described above: generating a blended image frame by removing a fourth portion of the first modi
image frame by blending a plurality of image frames, gener fied image frame, determine a fifth modified image frame
ating a combined image frame by combining a plurality of 55 different from the third and fourth modified image frames by
image frames, generating a combined image sequence by removing a fifth portion of the first modified image frame,
combining a plurality of image sequences, generating one or determine a sixth modified image frame by removing a sixth
more doubled image frames by doubling one or more image portion of the second modified image frame, determine an
frames, generating an overlayed image frame by overlaying a seventh modified image frame different from the sixth modi
plurality of image frames, generating a modified image frame 60 fied image frame by removing a seventh portion of the second
by removing a portion of an image frame, repeating one of an modified image frame, determine an eighth modified image
image frame or a series of image frames, generating a frame different from the sixth and seventh modified image
sequence of image frames, generating a collage based on one frames by removing an eighth portion of the second modified
or more portions of one or more image frames, Stitching image frame, determine a first bridge image frame different
together one or more portions of one or more image frames, 65 from the first, second, third, fourth, fifth, sixth, seventh, and
Superimposing a first image frame on a second image frame, eight modified image frames, determine a second bridge
determining a transitional frame, inserting and/or lifting a image frame different from the first bridge image frame and
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different from the first, second, third, fourth, fifth, sixth, sev      Many advantages, features, and applications of the inven
enth, and eight modified image frames, blend the first bridge        tion will be apparent from the following detailed description
image frame with the third modified image frame to generate          of the invention that is provided in connection with the
a first blended image frame, blend the first bridge image            accompanying drawings.
frame with the fourth modified image frame to generate a
second blended image frame, blend the first bridge image                      BRIEF DESCRIPTION OF THE DRAWINGS
frame with the fifth modified image frame to generate a third
blended image frame, overlay the first blended image frame,               FIG. 1 is a perspective view of the preferred embodiment of
the second blended image frame, and the third blended image the Continuous Adjustable 3Deeps Filter Spectacles.
frame to generate a first overlayed image frame, display the 10 FIG.2a shows a left lens of Continuous Adjustable 3Deeps
first overlayed image frame and the second bridge image Filter Spectacles fabricated from a single layer of electro
frame, blend the first bridge image frame with the sixth modi chromic material.
fied image frame to generate a fourth blended image frame,                FIG. 2b shows details of an electrochromic device for
blend the first bridge image frame with the seventh modified fabricating the electronically controlled variable tint material
image frame to generate a fifth blended image frame, blend 15 of the right and left lenses of the Continuous Adjustable
the first bridge image frame with the eighth modified image 3Deeps Filter Spectacles.
frame to generate a sixth blended image frame, overlay the                FIG. 3 is a block diagram of the operation of the Continu
fourth blended image frame, the fifth blended image frame, ous Adjustable 3Deeps Filter Spectacles.
and the sixth blended image frame to generate a second over               FIG. 4 is a flow chart showing the operation of the Control
layed image frame, and display the second overlayed image Unit of the Continuous Adjustable 3Deeps Filter Spectacles.
frame and the second bridge image frame.                                  FIG. 5 is a perspective view of the second preferred
   In one embodiment, the apparatus also includes an electri embodiment of the Continuous Adjustable 3Deeps Filter
cally controlled spectacle to be worn by a viewer.                     Spectacles fabricated from multiple layers of electrochromic
   In another embodiment, the first bridge image frame com material.
prises a non-solid color.                                           25    FIG. 6a shows a left lens of Continuous Adjustable 3Deeps
   In accordance with another embodiment, a system for pre Filter Spectacles fabricated from multiple layers of electro
senting a video is provided. The system includes an apparatus chromic material.
comprising a storage adapted to store one or more image                   FIG. 6b shows details of a multiple layered electrochromic
frames associated with a video, and a processor. The proces device for fabricating the electronically controlled variable
sor is adapted to reshape a portion of at least one of the one or 30 tint material of the right and left lenses of the Continuous
more image frames. The system also includes an electrically Adjustable 3Deeps Filter Spectacles.
controlled spectacle which includes a spectacle frame, opto               FIG. 7 is a block diagram of the operation of the Continu
electronic lenses housed in the frame, the lenses comprising a ous Adjustable 3Deeps Filter Spectacles using a multiple
left lens and a right lens, each of the optoelectrical lenses layered electrochromic device for fabricating the electroni
having a plurality of states, wherein the state of the left lens is 35 cally controlled variable tint material of the right and left
independent of the state of the right lens, and a control unit lenses.
housed in the frame, the control unit being adapted to control            FIG. 8 is a flow chart showing the operation of the Control
the state of each of the lenses independently. Each of the Unit of the Continuous Adjustable 3Deeps Filter Spectacles
lenses has a dark State and a light state. When viewing the using a multiple layered electrochromic device for fabricat
video the control unit places both the left lens and the right 40 ing the electronically controlled variable tint material of the
lens to a dark State.                                                  right and left lenses.
   In accordance with another embodiment, an apparatus                    FIG. 9 is a transition time curve for a single layer of
includes a storage adapted to store one or more image frames, electrochromic material with transition time as a function of
and a processor. The processor is adapted to obtain a first transmissivity.
image from a first video stream, obtain a second image from 45 FIG. 10 is a transition time curve for a double layer (multi
a second video stream, wherein the first image is different layer) of electrochromic material with transition time as a
from the second image, Stitching together the first image and function of transmissivity.
the second image to generate a stitched image frame, gener                FIG.11 is a perspective view of the third preferred embodi
ating a first modified image frame by removing a first portion ment of the multi-use Continuous Adjustable 3Deeps Filter
of the Stitched image frame, generating a second modified 50 Spectacles with single-layered lenses.
image frame by removing a second portion of the Stitched                  FIG. 12 is a block diagram of the operation of the multi-use
image frame, generating a third modified image frame by Continuous Adjustable 3Deeps Filter Spectacles with single
removing a third portion of the Stitched image frame, wherein layered lenses.
the first modified image frame, the second modified image                 FIG.13 is a flow chart showing the operation of the Control
frame, and the third modified image frame are different from 55 Unit of the multi-use Continuous Adjustable 3Deeps Filter
each other, identify a bridge frame, blend the first modified Spectacles with single-layered lenses.
image frame with the bridge frame to generate a first blended             FIG. 14 is a perspective view of the fourth preferred
frame, blend the first modified image frame with the bridge embodiment of the multi-use Continuous Adjustable 3Deeps
frame to generate a first blended frame, blend the first modi Filter Spectacles with multi-layered lenses.
fied image frame with the bridge frame to generate a first 60 FIG. 15a shows a left lens of Multi-Use Electrically Con
blended frame, overlay the first blended frame, the second trolled Continuous Adjustable 3Deeps Filter Spectacles fab
blended frame, and the third blended frame to generate a ricated from multiple layers of electrochromic materials.
combined frame, and display the combined frame.                           FIG. 15b shows details of a Multi-Use electrochromic
   In one embodiment, the apparatus also includes spectacles device for fabricating the electronically controlled variable
adapted to be worn by a viewer of a video.                          65 tint material of the right and left lenses of the Multi-Use
   In another embodiment, the bridge frame includes a non Electrically Controlled 3Deeps Continuous Adjustable
solid color.                                                           3Deeps Filter Spectacles using multi-layered lenses.
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  FIG.16 is a block diagram of the operation of the multi-use      moderate lateral motion. The image processing part of the
Continuous Adjustable 3Deeps Filter Spectacles with multi          brain puts the two disparate images together as depth. This is
layered lenses.                                                    a pure optical illusion that has nothing to do with how a
  FIG.17 is a flow chart showing the operation of the Control      motion picture is filmed.
Unit of the Multi-Use Electrically Controlled Continuous              The Pulfrich illusion has been used for more than 50 years
Adjustable 3Deeps Filter Spectacles with multi-layered             to produce 3D movies, using cardboard viewing spectacles
lenses.                                                            with a clear left lens and dark transparent right lens. Pulfrich
   FIGS. 18 a-18 c illustrates the present invention with three 3D motion pictures have been produced including such offer
pictures.                                                          ings as the 1971 feature length movie "I, Monster Starring
   FIGS. 19 a-19 cillustrates the present invention using three 10 Christopher Lee as well as selected scenes from the 1997
pictures along with blended pictures.                              second season finale of the network TV sitcom “Third Rock
   FIGS. 20 a-20 c illustrates the present invention using the From The Sun’. Howeverthere is a problem in that the special
same picture wherein one is offset from the other.                 Pulfrich viewing glasses impose severe constraints on both
   FIGS. 21 a-21 billustrates the present invention with side the movie and viewing venue.
by-side pairs of pictures.                                      15    More specifically, the problem then is that for any special
   FIGS. 22a-22 c illustrates the present invention wherein viewing spectacles with lenses of a fixed optical density, the
pictures G and H are identical but image F has been imposed lighting, and speed and direction of screen motion have to be
in a slightly different location.                                  in exactly proper alignment to get an optimal 3D effect that is
   FIGS. 23 a-23 c illustrates pictures of two women in Eter comparable to other 3D methods such as anaglyph (blue-red
nalism with two pictures.                                          viewing spectacles). That conjunction of light and motion
   FIGS. 24 a-24 c illustrates the women of FIG. 6 with a          rarely happens so Pulfrich is not considered a viable approach
50-50 blend between the women and the women and the                to 3D movies or TV. Movies made for viewing using the
bridging frame.                                                    Pulfrich illusion are best viewed in darkened venues, and if
   FIGS.25a-25 c illustrates the same women in two different       the same movie is viewed in a brightly lit venue the illusion is
perspectives (not apparent to normal viewing as pictured 25 diminished or may even totally disappear.
here), joined to create an Eternalism.                                These problems could be addressed if dynamic Pulfrich
   FIGS. 26 a-26 b illustrates the doubling of the frames from viewing spectacles could be constructed that self-configured
FIG. 6.                                                            themselves to the light and motion instant in a motion picture.
   FIGS. 27 a-27 c illustrates the two women with a smaller        However, such dynamic viewing spectacles still must be
frame depicting a portion of one woman repeated and over 30 totally passive to the viewer.
layed in the upper left-hand corner of the frame to create a 3Deeps Systems Proposed in the Earliest Related Patent
separate depth-configuration within the larger frame.              Applications
   FIG. 28 illustrates a combination of the two women with a          Early solutions provided dynamic Pulfrich viewing spec
portion of the one woman both in the bridging frame as well tacles (called 3Deeps viewing spectacles) that could be syn
as in one of the frames that contain both women.             35 chronized to the movies. These solutions utilized neutral
   FIG.29 illustrates Eternalism with two women and a circle    optoelectronic lenses (transmissivity of visible light) that are
moving through the frames.                                         controllable by an electric potential. The lenses could take
  FIG. 30 illustrates the Pulfrich filter.                         any of three states; clear left lens and clear right lens (clear
                                                                   clear) when there is no screen motion; clear left lens and dark
    DETAILED DESCRIPTION OF THE INVENTION                       40 right lens (clear-dark) when screen motion is from left to
                                                                   right; and, dark left lens and clear right lens (dark-clear) when
   References will now be made in detail to the preferred the screen motion is from right to left. Wired or wireless
embodiments of the invention, examples of which are illus signals (Infrared, radio, or Sound) synchronized the 3Deeps
trated in the accompanying drawings. Wherever possible, the viewing spectacles to the movies. These early solutions also
same reference numbers will be used throughout the draw 45 addressed how to calculate the lateral motion between frames
ings to refer to the same or like parts.                           of a motion picture and the synchronization controllers that
   To help understand the invention the following summary of calculated and transmitted the motion vector information to
inventive work from the previous related patent disclosures is the 3Deeps viewing spectacles. The proposed solution had
provided. The purpose of this section then is to explain the significant benefits and advantages including:
ground that has been covered in previous related patents and 50 Every movie ever made without additional alteration or
then identify the problems that this current patent application          processing—could be viewed in 3D when wearing
addresses and solves.                                                    3Deeps spectacles
The Pulfrich Illusion                                                 A movie could be viewed simultaneously by viewers with
   There is a well-studied stereoscopic illusion called the              or without 3Deeps spectacles, and
Pulfrich illusion in which the illusion of 3D is invoked by 55 No changes are required to any broadcast standards, cin
differentially shading the left and right eye. Anyone watching           ema formatting, viewing venue, or viewing monitors
TV through special viewing glasses can see the illusion. One          It should be understood, that the natural view of the world
way to construct the special Pulfrich viewing glasses is to take that viewer's expect of cinema is 3-dimensional, and to any
sunglasses and remove the left lens, so that the left eye views    movie viewer with binocular vision, it is the screen flatness of
the TV screen unobstructed and the right eye views the TV 60 2D that is strange and unnatural. From the earliest days of
screenthrough the darkened sunglass lens. With such Pulfrich motion pictures cinematographers have used light and lateral
viewing spectacles all screen motion from left-to-right will be movement as cues to help the viewer translate 2D screen
in 3D. The illusion is based on basic eye mechanics—the flatness into their binocular vision expectations. But light and
shaded lens causes the eye to send the image to the brain later lateral motion are precisely the factors that elicit the Pulfrich
than unshaded eye. If the time difference is /10 second than on 65 illusion, so when movies are produced, cinematographers and
a 100 Hz, digital TV the difference is 10 screen images, which lighting specialists stress precisely the features that the
is enough to produce a vivid illusion of 3D in the presence of 3Deeps systems can translate into the natural sense of depth
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that the viewer is expecting. That is to say, since the advent of    the mechanism of simultaneity, be reconciled by the brain as
moving pictures, filmmakers have been unknowingly prepar             a perception of depth. This is the Pulfrich illusion.
ing their movies for advantageous 3D viewing using 3Deeps               Well-researched retinal reaction curves describing this
spectacles.                                                          phenomenon are available and are used by the Continuous
   However, the early 3Deeps spectacles did not address how          Adjustable 3Deeps Filter Spectacles to select the optical den
to calculate an optical density for the lenses of the 3Deeps         sity of the lens to maximize the Pulfrich illusion. This is done
spectacles that would maximize the Pulfrich stereoscopic             in the following exemplary manner. First we measure the
illusion.                                                            ambient light optical density and use that with the retinal
A Second Solution Continuous Adjustable 3Deeps Filter 10 reaction curve to get the retinal delay for the eye viewing
Spectacles                                                           through the clear lens. We then use the direction of lateral
   The most recent related 3Deeps patent applications dis motion to determine which of the right and left lenses is clear
close how to construct better 3Deeps viewing spectacles that (with the other lens the dark lens.) If the lateral motion is from
maximize the Pulfrich stereoscopic illusion and are referred the left-to-right direction on the screen then the clear lens of
to as Continuous Adjustable 3Deeps Filter Spectacles. To 15 the Continuous Adjustable 3Deeps Filter Spectacles will be
construct these improved 3Deeps viewing spectacles we uti the left lens, and if the lateral motion is in the opposite
lize the body of existing knowledge about (1) the human eye direction then the clear lens will be the right lens.
retinal reaction time, and (2) the operating characteristics of         To set the optical density of the dark lens we now utilize the
the optoelectronic material of the 3Deeps lens.                      magnitude of the motion. As an example, if lateral motion of
Retinal Reaction Time                                                the major object in the frame is measured as moving at 0.25
   While each eye is stimulated by light continuously, there is inches per frame then it will take 10 frames to move 2.5
a time delay called the retinal reaction time until the informa inches—the average inter-ocular distance. In this case the
tion is triggered and transmitted to the brain. Retinal reaction Continuous Adjustable 3Deeps Filter Spectacles use the reti
time is primarily dependent on the amount of light (bright nal reaction curve to determine an optical density setting for
ness) that falls on the eye. For instance, in the presence of the 25 the darkened lens so the motion-direction eye will see a
bright light of a “Clear Sky at noon the retinal reaction time lagging image that is 10 frames behind that of the unshielded
is about 100 milliseconds (/10-th of a second) and the eye will eye. If the TV screen has a refresh rate of 100 Hz then 10
trigger about every 100 milliseconds and send the image from frames is precisely 100 milliseconds, so if the ambient light is
the eye to the brain. In the presence of light from a “Clear Sky     that of a “Clear Sky at noon with a retinal reaction time of 100
the retinal reaction time is slower—about 200 milliseconds. 30 milliseconds, then we would set the dark lens to have an
And in the presence of light that approximates a Night sky optical density of a Clear Sky which corresponds to a retinal
with a full moon the retinal reaction time is slower still           reaction time of 200 milliseconds. Depending upon the ambi
almost 400 milliseconds. The darker is the illumination, the         ent illumination, the optical density of the dark lens can
retinal reaction time become increasingly slower.                    always be calculated and precisely determined from the reti
   While the retinal reaction mechanisms are independent for 35 nal reaction curve and the objective function that maximizes
each eye, in normal viewing both eyes are unobstructed and the Pulfrich illusion.
the luminance value is the same and the eyes trigger at about           Once the optimal optical density values are known for the
the same time. However, if one eye is shaded so the eyes have lenses of the Continuous Adjustable 3Deeps Filter Spec
unequal retinal illuminance, then the two eyes will trigger at tacles, the Operating Characteristic curve of the optoelec
different speeds and different times. Using lens filters with 40 tronic material of the lenses can be utilized to apply the
different optical density shading causes this to happen and correct potential to the lenses so the lenses of the viewing
results in a difference in retinal reaction time for eacheye. The spectacles have the optical density so the movie is viewed
difference in retinal reaction time between the two eyes is one with a maximal Pulfrich stereoscopic illusion.
factor in the commonly accepted explanation for the Pulfrich            In the most recent previous patent application Retinal reac
illusion.                                                         45 tion time is used to calculate the optimal optical density value
   The second factor is simultaneity. The brain will take two (a first optimization) and the operating characteristic curve is
eye images and put them together in a simultaneous fashion used for control over the lenses of the Continuous Adjustable
to generate the image that we perceive. Thus in normal view 3Deeps Filter Spectacles (a second optimization). However,
ing, if both eyes see the same 2D image without any filtered other problems are not address and are the subject of this
obstruction, the brain gets two identical images and there is 50 pending patent application.
no information by which the brain may infer depth. However,          Problems Addressed by this Patent Application
if one eye is differently shaded, than the eyes send two dif            There is a problem that many optoelectronic materials
ferent images to the brain, and the mind places them together often do not change state instantaneously. While frame-to
and interprets the two different images as depth. These two frame display of a motion picture may be 100 Hz (100 frames
factors, retinal reaction time, and simultaneity are the two 55 a second or 10 milliseconds per frame) a typical optoelec
factors that explain Pulfrich illusion.                              tronic material made from electrochromic material may have
   If the scene being viewed is static with no moving object, a slow response time and take several seconds to change
then the instant image of the unshaded eye and the lagging from a clear state to a much darker state. A second problem
image of the shaded eye will still see the same image and the may relate to a limited cycle life' (number of clear-dark
retinal reaction delay and simultaneity factors will not pro 60 cycles) of some optoelectronic materials that may be limited.
vide any depth information. Thus, the Pulfrich illusion does Both of these problems can be addressed by using multiple
not work in the absence of motion. But if the scene being layers of optoelectronic material in fabricating the lenses of
viewed has horizontal motion (also called lateral motion) then the Continuous Adjustable 3Deeps Filter Spectacles, and this
the shaded eye will see an image that is lagging the instant patent discloses how to implement such a solution. Both
image. In this case the lagging image caused by retinal 65 problems relate to the viewing spectacle side of the solution
reaction delay of the shaded eye, when juxtaposed with the that implements the already independently calculated optical
 instant image perceived by the unshaded eye will, through density that maximizes the 3D Pulfrich stereoscopic illusion.
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   Now, before providing the detailed description of the             the left eye image as they are projected on the IMAX screen.
invention, Some additional pertinent background is provided.         By wearing special viewing glasses with lenses polarized in
A. Variable Tint and Optoelectronic Devices                          their respective directions to match the projection, the left eye
   Optoelectronic devices (or materials) that control the trans      image can be viewed only by the left eye since the polariza
mission of light through the device may be referred to as a          tion of the left lens will cancel out that of the right eye
variable tint device or variable tint material. Neutral variable     projection, and the right eye image can be viewed only by the
tint devices reduce the transmission of light approximately right eye since the polarization of the right lens will cancel out
equally along the entire spectrum of visible light and thus do that of the left eye projection.
not noticeably distort color. Other variable tint devices may           IMAX also uses another method shutter glasses—for 3D
allow transmission of light in a restricted spectrum of visible 10 viewing. This method of 3D projection involves the use of
light and block light outside the restricted range, such as blue LCD shutter glasses that use similarly polarized lenses for
variable tint devices that allows the passage of light in the blue both eyes. The left and right eye images are projected on the
spectrum (w-490-450 nm). Devices that control properties of viewing screen in alternate frames. These LCD shutter
light other than the transmission of light through the medium glasses are synchronized to the projector. The projector dis
will be referred to simply as optoelectronic devices.             15 plays the left and right images that are momentarily viewed
B. Methods of Producing 3-D Illusion in Moving Pictures              by the appropriate eye by allowing that LCD lens to become
   Motion pictures are images in 2-dimensions. However, transparent while the other remains opaque. That is when the
several methods have been developed for providing the illu left eye frame is projected on the screen, the left lens of the
sion of depth in motion pictures. These include the Anaglyph,        shutter glasses becomes transparent and the right lens of the
Intru3D (also called ColorCode 3D), IMAX (Polaroid), shut shutter glasses becomes opaque. When the next frame is
terglasses and Pulfrich 3-dimensional illusions.                     projected on the screen a frame for the right eye—the left
Anaglyph 3-Dimensional Illusion                                      lens becomes opaque and the right lens becomes transparent.
   'Anaglyph' refers to the red/blue (red/cyan or red/green)            In both the IMAX 3D systems only the correct eye is
glasses that are used in comic books and in cereal packets etc. allowed to view the correct image while the other eye is
The glasses consist of nothing more than one piece of trans 25 blinded. The transparent state is actually quite dark, and
parent blue plastic and one piece of transparent red plastic. occludes about 35% of the projected light to the viewing eye
These glasses are easy to manufacture and have been around while the non-viewing eye is Supposed to view no image at all.
since the 1920s.                                                     Shutter Glasses
   Ananaglyph Stereo picture starts as a normal Stereo pair of          Different formulations of shutter glasses have been imple
images, two images of the same scene, shot from slightly 30 mented over the last few decades, but without much large
different positions. One image is then made all green/blue and scale commercial Success. A shutter glasses Solution gener
the other is made all red, the two are then seen together.           ally require two images for each image of video, with shutter
   When the image is viewed through the glasses the red parts covering or uncovering each eye of the viewer. This allows
are seen by one eye and the other sees the green/blue parts. one eye to see, than the other, with the shutters timed and
The visual cortex of the brain fuses this into perception of a 35 synchronized with the video so that each eye only sees the
three-dimensional scene or composition. This effect is fairly image intended for it.
simple to do with photography, and extremely easy to do on a            Some shutter glass systems are wired to a control device
PC, and it can even be hand-drawn. The main limitation of while Some shutter glass systems use wireless infrared sig
this technique is that because the color is used in this way, the naling to control the state of the lenses.
true color content of the image is usually lost and the resulting 40 CrystalEyes is the name of a stereoscopic viewing product
images are usually in black and white. As the colors compete produced by the StereoGraphics Corporation of San Rafael,
for dominance they may appear unstable and monochromatic. Calif. They are lightweight, wireless liquid crystal shuttering
A few images can retain a resemblance to their original color eyewear that are used to allow the user to view alternating
content, but the photographer has to be very selective with field sequential stereo images. The source of the images alter
color and picture content.                                        45 nately displays a left-eye view followed by a right-eye view.
Intru3D Intel                                                        CrystalEyes shutters can block either of the user's eyes so
   Intel's Intru3D uses the ColorCode 3D method that is an           that only images appropriate for each eye are allowed to pass.
update to the more familiar Anaglyph method of 3D ste A wireless infrared communications link synchronizes the
reoscopy. It is similar to the Anaglyph method of stereoscopy shuttering of the eyewear to the images displayed on the
but rather than make one image green/blue and the other 50 monitor or other viewing screen. CrystalEyes shutter glasses,
image red, Intru3D records the two images as amber and blue. weight only 3.3 ounces, use two 3V lithium/manganese diox
This provides generally truer color than typical Red/Blue ide batteries, and have a battery life of 250 hours. This dem
anaglyphs, particularly where Red image components are onstrates the robustness and potential of any viewer glass
concerned.                                                           Solution.
IMAX (Polaroid) 3-Dimensional Illusion                        55 Because shutterglasses only expose each eye to every other
   IMAX creates the illusion of 3-dimensional depth by frame, the refresh rate of the video is effectively cut in half.
recording the motion pictures on two separate rolls of film On a TV with refresh rates of 30 frames per second (for an
with two camera lenses to represent the left and right eyes. NTSCTV) or 25 frames per second (for a PAL TV), this is
These lenses are separated by an interocular distance of about hard on the eyes because of the continual flicker. This prob
2.5 in., the average distance between a human’s eyes. By 60 lem is eliminated with higher refresh rates, such as on PC
recording on two separate rolls of film for the left and right monitors.
eyes, and then projecting them simultaneously, IMAX can C. Electronically Controlled Variable Tint Materials
create a 3-Dimensional illusion for viewers.                            Numerous materials have been identified that have the
   IMAX uses either of two different methods to create the 3D        property that the transmission of light through the material
illusion in the theatre. The first method relies on polarization. 65 can be controlled by the application of an electronic Voltage
During projection, the left eye image is polarized in one or potential across the material. These include the classes of
direction and the right eye image polarized perpendicular to materials typically named electrochromic, Suspended particle
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and polymer dispersed liquid crystal devices. Within each possible to control the amount of light and heat passing
class of electronically controlled variable tint material there through when tints and special inner layers are used. Most of
are numerous formularies. Other classes of materials may be the devices offered today operate in on or off states only, even
found in the future. Any material for which the transmission though the technology to provide for variable levels of trans
of light or other optical property of light can be controlled by 5 parency is easily applied. This technology has been used in
an electronic potential may be utilized in the invention.                interior and exterior settings for privacy control (for example
Electrochromic Devices (EDs)                                             conference rooms, intensive-care areas, bathroom/shower
   Electrochromic devices change light transmission proper doors) and as a temporary projection screen. A new genera
ties in response to Voltage and thus allow control of the tion of switchable film and glass called 3G Switchable Film is
amount of light passing through the material. A burst of 10 available from Scienstry, using a non-linear technology to
electricity is required for changing the tint of the material, but increase transparency, lower the required driving Voltage and
once the change has been occurred, no electricity is needed extend the lifetime.
for maintaining the particular shade that has been reached. A First Preferred Embodiment of the Invention
Electrochromic materials provide visibility even in the dark                FIG. 1 is a perspective view 100 of the preferred embodi
ened state, and thus preserves visible contact with the outside 15 ment of the Continuous Adjustable 3Deeps Filter Spectacles.
environment. It has been used in Small-scale applications It is comprised of a frame 101 that is used as the housing for
Such as rearview mirrors. Electrochromic technology also the lenses and control circuitry. Such frames area well-known
finds use in indoor applications, for example, for protection of means by which lenses can be fixed before a person’s eyes for
objects under the glass of museum display cases and picture viewing. On the frame 101 is battery device 104 to power all
frame glass from the damaging effects of the UV and visible circuitry of the Continuous Adjustable 3Deeps Filter Spec
wavelengths of artificial light. Recent advances in electro tacles. Also, on the frame 101 is a receiver 102 labeled RX
chromic materials pertaining to transition-metal hydride elec that is powered by the battery 104. The receiver 102 has
trochromics have led to the development of reflective apparatus to receive radio-frequency (RF) 110 waves with
hydrides, which become reflective rather than absorbing, and synchronization and control information used to control the
thus Switch states between transparent and mirror-like.               25 Continuous Adjustable 3Deeps Filter Spectacles. Such
Suspended Particle Devices (SPDs)                                        receivers are well known in the art of electronics. Also on the
   In suspended particle devices (SPDs), a thin film laminate frame 101 is a control unit 103 powered by the battery 104
of rod-like particles suspended in a fluid is placed between that transforms the continuing optical density signals into the
two glass or plastic layers, or attached to one layer. When no electronic potentials used to control the optical density of
Voltage is applied, the Suspended particles are arranged in 30 each individual lens. Also on the frame 101 is an on/off switch
random orientations and tend to absorb light, so that the glass          112 that controls whether the electronic circuits of the 3Deeps
panel looks dark (or opaque), blue or, in more recent devel spectacles 101 receive power (on position) from the battery or
opments, gray or black color. When Voltage is applied, the not (power off). Other embodiments may replace RF com
Suspended particles align and let light pass. SPDs can be munications with other communications means, including
dimmed, and allow instant control of the amount of light and 35 but not limited to infrared, or audio sound.
heat passing through. A Small but constant electrical current is            Two lenses are fixed in the frames—a right lens (from the
required for keeping the SPD in its transparent stage.                   movie viewer's vantage point) 105 and a left lens 106. In the
Polymer Dispersed Liquid Crystal Devices (PDLCs)                         preferred embodiment, each lens is made of an electrochro
   In polymer dispersed liquid crystal devices (PDLCs), liq mic material for which the optical density can be reliably and
uid crystals are dissolved or dispersed into a liquid polymer 40 precisely controlled by the application of an electronic poten
followed by solidification or curing of the polymer. During tial across the material. The lens has circuitry so that the
the change of the polymer from a liquid to Solid, the liquid control unit 103 can independently control the transmissivity
crystals become incompatible with the solid polymer and of each lens. Other embodiment may use optoelectronic
form droplets throughout the Solid polymer. The curing con materials other than electrochromics. A second preferred
ditions affect the size of the droplets that in turn affect the final 45 embodiment of Continuous Adjustable 3Deeps Filter Spec
operating properties of the variable tint material. Typically, tacles using multi-layered lenses is disclosed starting in FIG.
the liquid mix of polymer and liquid crystals is placed 5. A third preferred embodiment of Continuous Adjustable
between two layers of glass or plastic that include a thin layer 3Deeps spectacles using single-layered lenses for a multi-use
of a transparent, conductive material followed by curing of application is disclosed starting in FIG. 11. A fourth preferred
the polymer, thereby forming the basic sandwich structure of 50 embodiment of Continuous Adjustable 3Deeps Filter Spec
the smart window. This structure is in effect a capacitor. tacles using multi-layered lenses for a multi-use application is
Electrodes from a power Supply are attached to the transpar disclosed starting in FIG. 14.
ent electrodes. With no applied voltage, the liquid crystals are            For exemplary purposes, FIG. 1 shows the Continuous
randomly arranged in the droplets, resulting in scattering of Adjustable 3Deeps Filter Spectacles in just one of the three
light as it passes through the Smart window assembly. This 55 states that the lenses can take. FIG. 1 shows the right lens 105
results in the translucent, “milky white' appearance. When a darkened and the left lens 106 as clear with the clear lens
voltage is applied to the electrodes, the electric field formed allowing more light transmission than the darkened lens. This
between the two transparent electrodes on the glass cause the is the configuration to view a motion picture with a 3-dimen
liquid crystals to align, thereby allowing light to pass through sional effect in which the lateral motion in the motion picture
the droplets with very little scattering, resulting in a transpar 60 is moving from left-to-right on the viewing screen. Other
ent state. The degree of transparency can be controlled by the embodiments of the invention may have Continuous Adjust
applied Voltage. This is possible because at lower Voltages, able 3Deeps Filter Spectacles that fit over regular prescription
only a few of the liquid crystals are able to be aligned com glasses in a manner similar to that in which Snap-on or clip-on
pletely in the electric field, so only a small portion of the light Sunglasses are configured. In still another embodiment the
passes through while most of the light is scattered. As the 65 lenses of the Continuous Adjustable 3Deeps Filter Spectacles
Voltage is increased, fewer liquid crystals remain out of align may also be prescription lenses’ customized for the viewer
ment thus resulting in less light being scattered. It is also vision impairments.
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   Also, while the preferred embodiment of the invention uses         electrochromic material. Its fabrication using electrochromic
Continuous Adjustable 3Deeps Filter Spectacles that are               material is shown in adjoining FIG. 2b.
wireless, other embodiments may use wired connections.                   FIG. 2b. 225 shows the cross-sectional detail of the elec
What is required is that the Continuous Adjustable 3Deeps             trochromic device of FIG. 2a used for fabricating the elec
Filter Spectacles can receive and respond to synchronization          tronically controlled variable tint material of the right and left
signals from the controller, and whether that is by wired or          lenses of the Continuous Adjustable 3Deeps Filter Spec
wireless means is immaterial to the invention.                        tacles. The Figure shows a typical dual-polymer electrochro
   Earlier versions of 3Deeps Filter Spectacles (also called mic device consisting of seven layers of material. In the
Pulfrich Filter Spectacles) have been previously described in 10 preferred      embodiment of the invention, the right lens 105 and
co-pending patent applications and patents U.S. patent appli left lens 106 of the Continuous Adjustable 3Deeps Filter
cation Ser. No. 12/274,752, U.S. patent application Ser. No. layer    Spectacles 100 are fabricated from such material. The first
11/928,152, U.S. patent application Ser. No. 1 1/372,723,                   201 of the electrochromic material 225 is a glass, plastic
U.S. patent application Ser. No. 1 1/372,702, and U.S. Pat. conducting(or other clear insulating material.) The second layer 202 is a
                                                                                   layer, followed by a third layer 203 of polymer.
Nos. 7,030,902 and 7,218,339.                                      15 The fourth layer 204 is an electrolytic layer that depending
   There are 3 lens settings used by the Continuous Adjust upon the electrochromic material may be a liquid or gel. This
able 3Deeps Filter Spectacles. One setting is that both the layer provides the ion transport whose direction is determined
right 105 and left lens 106 are clear. Neither lens is darkened. by the application of potential across the conducting layers.
This is the lens state that is used in the preferred embodiment The fifth layer 205 is the complementary polymer layer, fol
when there is no significant lateral motion in the motion lowed by a sixth layer 206 of conducting material. The last
picture. The second setting is the left lens 106 clear and the layer 207 of the electrochromic is another insulting layer of
right lens 105 darkened. This is the lens state that is used in the glass, plastic or other clear insulating material.
preferred embodiment when foreground lateral motion in the               While FIG.2b 225 show a typical dual-polymer electro
motion picture is moving from the left to the right direction, chromic device, as previously indicated, there are numerous
as seen from the viewer's perspective. The third setting is the 25 Such electrochromic devices, and any electrochromic may be
left lens 106 darkened and the right lens 105 clear. This is the favorably utilized in the invention. Some electrochromic
lens state that is used in the preferred embodiment when the devices may not have seven layers as shown in FIG. 2b. For
foreground lateral motion in the motion picture is moving instance, Some variable tint materials may be in the form of a
from the right to the left direction, as seen from the viewers flexible film or laminate that can be applied to a single layer
perspective.                                                       30 of clear glass or plastic.
   The lens state consisting of both left and the right lens             Also, any electronically controlled variable tint material
darkened is not used by any of the 3Deeps spectacles. How may be used in the invention rather than the displayed elec
ever, this lens state can be achieved by the Continuous Adjust trochromic device. Any material whose optical property of
able 3Deeps Filter Spectacles, and may have uses in other transmissivity of light may be controlled by the application of
embodiments of the invention. In the third preferred embodi 35 an electric potential may be favorably use to fabricate the
ment of the invention, this lens State is used to provide an lenses of the Continuous Adjustable 3Deeps Filter Spectacles
alternate use for 3Deeps viewing spectacle—Sunglasses. In 1OO.
that embodiment, multi-use 3Deeps spectacles are switch                  FIG. 3 is a block diagram 300 of the operation of the
selectable as either (Use 1) 3Deeps viewing spectacles using Continuous Adjustable 3Deeps Filter Spectacles of FIG. 1.
the 3 lens settings described in the preceding paragraph for 40 All circuits on the Continuous Adjustable 3Deeps Filter Spec
3Deeps viewing, or (Use 2) Sunglasses using the left and right tacles 101 are powered 301 by the Power Unit 104 (if the
lens darkening to a pre-set optical density.                          power on/off switch 112 is in the on position), including the
   In Continuous Adjustable 3Deeps Filter Spectacles, the Control Unit 103, Signal Receiving Unit 102, the Left Lens
right and left lenses of the viewing glasses may independently 106, and the Right Lens 105. The control information 110 is
take a multiplicity of different levels of darkness to achieve 45 received by the Signal Receiving Unit 102 and sent 302 to the
different effects, resulting in many different lens states. In Control Unit 103. The control unit 103 implements an algo
particular, the darkening of the non-clear lens can be opti rithm that is specific for the lens materials used in the fabri
mized according to the speed of lateral motion and/or lumi cation of the Right Lens 105 and the Left lens 106 of the
nance, so as to optimize the degree of 3-dimensional effect (a Continuous Adjustable 3Deeps Filter Spectacles, and con
first optimization). Also, the Control Unit 103 can control the 50 trols the Left Lens 106 over a control circuit 303, and the
electrochromic lenses so that they reach their target state in an Right Lens over a control circuit 305.
optimal manner (a second optimization).                                  FIG. 4 is a flow chart 400 showing the operation of the
   Various consumer-based control units may be utilized with Control Unit 103 of the Continuous Adjustable 3Deeps Filter
the Continuous Adjustable 3Deeps Filter Spectacles that can Spectacles of the first preferred embodiment. The input to the
both display the audio/video of the associated motion picture, 55 Control Unit 103 is the synchronization signal 302. The out
as well as perform the Continuous Adjustable 3Deeps Filter put is the control signal sent to the left lens 106 over the
Spectacles synchronization to identify 3Deeps synchroniza control left lens control circuit 303, and the control signal sent
tion events and issue control signals to the Continuous to the right lens 105 over the right lens control circuit 305. The
Adjustable 3Deeps Filter Spectacles. This includes, but is not synchronization signals 302 are received and stored by the
limited to; DVD-based control units; Digital Movie Projector 60 Read and Store 3Deeps Signal block 401 of the Control Unit
control units; Television-based control units; hand-held and          103 and stored in a LIFO (Last In First Out) memory stack
operated control units; spectacle-based control units; soft 403. Control then passes to Store and Manage Signal pro
ware-based processing that parses compressed digital video cessing 405 that pops the top of the stack (read the value and
file and uses its motion estimation information (e.g. MPEG); eliminates it from storage) and processes the synchronization
and, cell-phone based control units.                               65 signal by storing it in a 3Deeps Signal memory storage 407.
   FIG.2a 200 shows a left lens 106 of Continuous Adjustable Processing control then passes to Parse and Store Left and
3Deeps Filter Spectacles fabricated from a single layer of Right OD in which the 3Deeps signal memory storage 407 is
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parsed and stored in the Left OD value 411, and the Right          left lens 106 of FIG.2b are shown in FIG. 6b as the 6 active
OD value 413. Processing then continues with the Right             layers 611, and the (seventh) insulating layer 201. Each layer
Lens Control 417 in which the right lens value 413 is con          is identical to their like numbered description accompanying
verted to an electronic signal 305 that controls the optical       FIG. 2b. A second active layer 601 is included in the multi
density of the right lens. Processing then continues with the      layered electrochromic lens. In the second preferred embodi
Left Lens Control 415 in which the left lens value 411 is          ment of the invention, the second layer 601 of the lens is
converted to an electronic signal 303 that controls the optical fabricated from identical electrochromic material as used to
density of the left lens. Processing in the Control Unit 103 fabricate the first layer 611 of the left lens 506 so that each
then is passed back to the Read and Store 3Deeps Signal             layer has the same Operating Characteristic curve 900 as
   It should be understood that different control circuits might 10 shown in FIG.9. The six layers of electrochromic material for
be utilized by other embodiments. For instance other embodi the second layer are identical to their like numbered descrip
ments may have no need for LIFO signal store and manage tion accompanying FIG. 2b. Other embodiments may use
ment since control of the 3Deeps spectacles is in real-time and electrochromic material with different material so that the
there is no need to Switch the lenses to past setting. Also, two layers have different Operating Characteristic curves.
better emphasize the logical operation of the control unit 15 Also, other embodiments may have more than 2 layers.
Some functions have not been shown. For instance, the control          FIG. 7 is a block diagram 700 of the operation of the
unit may cycle at a much faster rate then the received syn Continuous Adjustable 3Deeps Filter Spectacles of FIG. 5
chronization signals resulting in an empty stack. The han using a multiple layered electrochromic device for fabricat
dling of Such an empty stack state is not shown in the flow ing the electronically controlled variable tint material of the
diagram but would be handled as well-known in the art by right 505 and left lenses 506. All circuits on the Continuous
detecting that the stack is empty and passing control in the Adjustable 3Deeps Filter Spectacles 550 are powered 301 by
Control Unit 103 back to the Read and Store3Deeps Signal            the battery 104, including the Control Unit 503, Signal
state 401 rather than passing control as shown in the flow Receiving Unit 102, the Left Lens 506, and the Right Lens
diagram 400.                                                        505. The control information 110 is received by the Signal
   Continuous Adjustable 3Deeps Filter Spectacles have 25 Receiving Unit 102 and sent 302 to the Control Unit 503. The
great advantages. The control information 110 is spectacle control unit 503 implements an algorithm that is specific for
agnostic; i.e. all spectacles receive the same transmitted con the multi-layered lens materials used in the fabrication of the
trol information. The control unit 103 on the spectacles per Right Lens 505 and the Left lens 506 of the multi-layered
forms a final view-spectacle-specific optimization, Continuous Adjustable 3Deeps Filter Spectacles, and con
translating the control information into control signals spe 30 trols the Left Lens 506 with a control circuit 703, and the
cific to the lens material used to fabricate the Continuous         Right Lens 505 with a control circuit 704.
Adjustable 3Deeps Filter Spectacles. Two viewers sitting              The difference between FIG. 7 (multi-layered lens) and
side-by-side and watching the same video on a digital TV but FIG. 3 (single layer lens) is in their respective right and left
wearing Continuous Adjustable 3Deeps Filter Spectacles that lenses, control units, and control circuits. For the right lens
have lens material with totally different characteristics, will 35 505 and left lens 506, the lenses are fabricated from multiple
each see the movie with an illusion of 3D optimized for their layers of electrochromic material. In the second preferred
spectacles.                                                         embodiment of the invention these are the same as the lens
A Second Preferred Embodiment of the Invention                     fabrication shown in FIG. 6. The control unit for the multi
   FIG. 5 is a perspective view 500 of the second preferred layered lens 503 must control multiple layers while the con
embodiment of the Continuous Adjustable 3Deeps Filter 40 trol unit for the single-layered lens 103 only need control a
Spectacles 550 with multi-layered lenses. The difference single layer electrochromic lens. In this second preferred
between FIG. 5 (multi-layered lens) and FIG. 1 (single layer embodiment of the invention, both layers of the multi-layered
lens) is in their respective right lens (505 of FIG. 5), left lens electrochromic lens are made of the same material with the
(506 of FIG. 5), and control unit (503 of FIG. 5). Like num same Operating Characteristic curve and both lenses have
bered items in FIG. 5 and FIG. 1 have the same function and 45 applied to them identical Voltage across each layer. However,
definition. The lenses for the second preferred embodiment since there are multi-layers of material, it will be shown using
(505 and 506) are described in greater detail in FIGS. 6a and the Operating Characteristic curve of FIGS. 9 and 10, that to
6b, and the control unit for the second preferred embodiment achieve a target optical density for each lens, the control unit
is described in greater detail in FIG. 8.                           503 will only need apply voltage to the multi-layers for less
   FIG.6a 600 shows a left lens 506 of Continuous Adjustable 50 time than for the single layer. For the control circuits, the
3Deeps Filter Spectacles fabricated from multiple layers of multi-lens control circuits need to apply Voltage across mul
electrochromic material. Its fabrication using electrochromic tiple layered assemblies, not just a single lens assembly.
material is shown in adjoining FIG. 6b. Since only a single           FIG. 8 is a flow chart 800 showing the operation of the
layer of insulating glass material will be required between the Control Unit 503 of the Continuous Adjustable 3Deeps Filter
different layers of the multi-layered electrochromic lens, the 55 Spectacles 550 using a multiple layered electrochromic
drawing of the top layer is slightly different than that of FIG. device for fabricating the electronically controlled variable
2a to emphasize that only one layer of Such insulating mate tint material of the right lens 505 and left lens 506. This flow
rial is necessary. FIG. 6a therefore shows the lens 106 as two chart 800 is very similar to the flow chart of the control unit
layers where the first active layer 611 is separated by the for the Continuous Adjustable 3Deeps Filter Spectacles using
second active layer 601 by an insulating layer 610. The first 60 a single layered electrochromic device of FIG. 4. The
active layer 611 and the insulating layer 610 comprise the memory storage LIFO Signal Stack 403, 3 Deeps Signal
single layer lens 106 of FIG.2a.                                    407, Left OD 411, and Right OD 413 are the same as
   FIG. 6b 625 shows the cross-sectional details of the mul         previously described for FIG. 4. The processing modules
tiple layered electrochromic device of FIG. 6a that is used for      Read & Store 3Deeps Signal 401, Store and Manage
fabricating the electronically controlled variable tint material 65 3Deeps Signal 405, and Parse and Store Left and Right OD
of the right and left lenses of the Continuous Adjustable 409 are the same as previously described for FIG. 4. The
3Deeps Filter Spectacles. The 7 layers of the electrochromic difference between FIG. 4 and FIG. 8 is in the Left Lens
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Multilayer circuitry 815 and the left lens 506 that the circuit     ing clear to an observer since they do not affect visible light.
controls, and in the Right Lens Multilayer Control circuitry        Electrochromics have been the object of intense study for
817 and the right lens 505 that the circuit controls. In this       over 40 years, and have found their chief commercial Success
multi-layer embodiment of the invention, the Left Lens Mul          for use in smart windows where they can reliably control the
tilayer circuitry 815 must control two layers of the electro        amount of light and heat allowed to pass through windows,
chromic left lens 506, and the Right Lens Multilayer cir            and has also been used in the automobile industry to auto
cuitry 817 must control two layers of the electrochromic right      matically tint rear-view mirrors in various lighting condi
lens 505. It will be shown later in FIGS. 9 and 10 that the        tions.
target optical densities for the left lens 411 and the right lens       Other embodiments of the inventions may advantageously
409 can be achieved more rapidly.                                 10 use multiple-color electrochromic devices or materials that
   This approach has the same advantages as for single-layer exhibit electropolychromism. Some electrochromic devices
Continuous Adjustable 3Deeps Filter Spectacles. The control may take a whole series of different colors, each colored state
information 110 is spectacle-agnostic; i.e. all spectacles generated at a characteristic applied potential. One example is
receive the same transmitted control information. The control        methyl viologen, which has electron potential states that are
unit 503 on the spectacles performs a final view-spectacle 15 correspondingly colorless, blue, and red-brown. Electrochro
specific optimization, translating the control information into mic viologens have been synthesized with as many as six
control signals specific to the multi-layered lens material used different colors.
to fabricate the Continuous Adjustable 3Deeps Filter Spec               The operating characteristics of each formulation of any of
tacles. Two viewers sitting side-by-side and watching the the thousands of different electrochromic material will be
same video on a digital TV but wearing Continuous Adjust different. Some of the operating characteristics that should be
able 3Deeps Filter Spectacles that have lens material with considered when selecting materials for 3Deeps lenses
totally different characteristics, will each see the movie with include: Response time (the time required to change from its
an illusion of 3D optimized for their spectacles. It also has the clear to darkened State or vice versa); Power consumption;
additional advantage that since a multi-layer lens is used, the Memory effect (when power is offbetween write cycles there
transition time between optical density states will be faster 25 is no redox process and the electrochromic material retains
than the corresponding transition time for a single-layer lens. its optical properties); Coloration efficiency (the amount of
   The second preferred embodiment of the Optical Density electrochromic darkening formed by the charge); Cycle life
Continuing Adjustable 3Deeps Filter Spectacles use electro (The number of write-erase cycles that can be performed
chromic lenses. Additional detail about Electrochromism is           before any noticeable degradation has occurred); and, write
now provided.                                                     30 erase efficiency (the fraction of the originally formed dark
   Electrochromism is the phenomenon displayed by some ening that can be subsequently electro-cleared. For 3Deeps
chemicals of reversibly changing color when an electric viewing spectacles this should be 100%).
potential is applied. Electrochromism has a history dating              The operating characteristics of each formulation of any of
back to the nineteenth century and there are thousands of the 1000s of different electrochromic material will be differ
chemical systems that have already been identified electro 35 ent. FIG. 9 shows a typical Operating Characteristic curve
chromic. A narrow definition limits electrochromic devices to        relating transmissivity (% transmission of light) to transmis
chemical processes for which there is a redox reaction that sion time when a potential of 2 volts is applied across the
undergo an electron uptake reduction or electron release electrochromic device. Some electrochromic materials may
when potential is applied and the reverse or oxidation with take several seconds to change state from one optical density
a reverse potential. Most redox processes are electrochro 40 to another—others may be near instantaneous. For many
mic and are candidate electrochromes and potential 3Deeps electrochromic materials the color change is persistent and
lenses. While the preferred embodiments of this invention use electric potential need only be applied to effect a change. For
such narrowly defined electrochromic devices, any device for Such persistent optoelectronic materials, only an electronic
which the transmission of light may be controlled by an on-off pulse is needed, while non-persistent materials require
electronic potential may be utilized in the invention. For 45 the application of a continuing electronic potential. Other
instance, Liquid Crystal Device (LCD) lenses may be used in materials may attain state under the presence of electric
the invention since they may be controlled by an electronic potential, but then slowly leak and change back. These
potential, even though they use a totally different mechanism materials may require a maintenance potential to maintain
to control the optical properties of the material. LCDs rely on state but one that is different from that to attain the optical
an interference effect (block the transmission of light), while 50 density state.
the narrow definition of electrochromic device is limited to            The second preferred embodiment of the Continuing
materials that rely on a redox reaction to change the color of Adjustable 3Deeps Filter Spectacles is fabricated from a per
the material. Either redox or LCD material, or any material sistent electrochromic material (material that has a so-called
for which the transmission of light may be controlled by an memory effect) that takes up to 1.85 seconds to change State
electronic potential can be advantageously utilized in the 55 from its lightest to darkest optical density, and up to 1.85
invention.                                                           seconds to change State from its lightest to darkest optical
   There are many different families of chemicals that exhibit density. In moving between states the preferred embodiment
Such properties—both organic and inorganic. These include will always seek to optimize transition time.
but are not limited to polyaniline, viologens, polyoxotung              While electrochromic material is used in the second pre
states's and tungsten oxide. Oxides of many transition metals 60 ferred embodiment of the optical density Continuous Adjust
are electrochromic including cerium, chromium, cobalt, cop able 3Deeps Filter Spectacles, any optoelectronic materials
per, iridium, iron, manganese, molybdenum, nickel, niobium, that change optical density in response to an applied potential
palladium, rhodium, ruthenium, tantalum, titanium, tungsten, may be used. This includes but is not limited to PDLCs
and vanadium. Within each family, different mixtures of (Polymer Dispersed Liquid Crystal devices) or SPDs (Sus
chemicals produce different properties that affect the color, 65 pended Particle Devices.) In the future, new optoelectronic
transmissivity, and transition time. Some electrochromics materials will be discovered and may be advantageously used
may only affect ultraviolet light—not visible light—appear in the practice of this invention.
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  FIG. 9 is a transition time curve 900 for a single layer of       Operating Characteristic curve for the double layer 1003
electrochromic material with transition time as a function of       (multi-layer) lenses of the preferred embodiment are shown
transmissivity when a potential of 2.0V is applied to the along with the Operating Characteristic curve of the single
electrochromic material. It is for a slow electrochromic            layer 903 to better emphasize the transition time Benefit and
material with transition time 902 as a function of transmis 5 Loss of using the double layer of electrochromic material.
sivity 901 (or percent transmission of light). This transition The example shows that doubling the lens material results in
time curve 900 has a lightest state 906 with a transmissivity a 44% decrease in Transmission Time (Benefit) when moving
of 100% density (clear) and its darkest state 905 is 0% in from a clear to a 70% transmissivity state for only a 1% loss
which all light is blocked from passing through the electro in the Clear State (Loss).
chromic material. The electrochromic material cannot how 10            As an example, if the multi-layer material is in its clearest
ever attain either of the extreme values (0% or 100%) of state 1015, and the control signal 110 received on the frames
transmissivity. The Operating Characteristic curve 903 shows receiving unit 102 indicates that the subject lens should
a material that can attain about 99% transmissivity 904 (al change to an optical density associated with transmissivity of
most clear) and 10% transmissivity 915 (almost dark). The 70%923, then the transition time curve 1003 would be imple
material can then take any optical density in between the 15 mented by the control unit 503 to apply 2V potential to the
blocking only 1% of the light (99% transmissivity) and block lens for 0.75 seconds. A value of 70% 923 transmissivity
ing 90% of light (10% transmissivity) by the application of intercepts the Operating Characteristic curve 1003 at a point
2V for the proper length of time. If the material is in its on the curve 1011 that corresponds to a transition time 1012
clearest state 904, and, and a 2V potential is applied to the of 0.75 seconds. Once a potential of 2V has been applied for
material, it will take about 1.8 seconds to change state and 0.75 seconds, no potential need further be applied since the
achieve its darkest state 915 or 10% transmissivity. This is electrochromic lens will latch in the new state.
shown on the transition time curve 903 of the Operating                In Summary, for a single layer lens then, to move from a
Characteristic of the material in FIG. 9.                           clear state to a 70% transmissivity state 2V potential is
   As another example, if the material is in its clearest state applied for 1.35 seconds to a single layer material. For the
904, and the control signal 110 received on the frames receiv 25 double layer lens of the preferred embodiment to move from
ing unit 102 indicates that the Subject lens should change to an a clear state to a 70% transmissivity state 2V potential is
optical density associated with transmissivity of 70% 923, applied for 0.75 seconds. Using two layers of electrochromic
then the transition time curve 903 would be implemented by material results in a beneficial 44% decrease in transmission
the control unit 103 to apply 2V potential to the lens for 1.35 time for only a 1% loss in the clear state.
seconds. A value of 70% 923 transmissivity intercepts the 30 A Third Preferred Embodiment of the Invention
Operating Characteristic curve 903 at a point on the curve 921         It has previously been observed in this disclosure that—
that corresponds to a transition time 922 of 1.35 seconds. “The lens state consisting of both left and the right lens
Once a potential of 2V has been applied for 1.35 seconds, no darkened is not used by any of the 3Deeps spectacles. The
potential need further be applied since the electrochromic third preferred embodiment of the invention uses this lens
lens will latch in the new state.                                35 state that is not used by any of various 3Deeps spectacles
   This is an example of how an algorithm implemented in the previously described, and extends the first preferred embodi
Control Unit 103 of the Continuous Adjustable 3Deeps Filter ment (single layer Continuous Adjustable 3Deeps Filter
Spectacles with a single layer of lens material (FIG. 1-4) Spectacles) so they may also be switch selectable to function
would use the transition time curve 903 to control the right as Sunglasses.
lens 105 and the left lens 106. To transition a lens from and 40       In particular, a switch 1101 is added to the Continuous
optical density associated with a clear state 904 to the optical Adjustable 3Deeps Filter Spectacles described in FIG.1. In a
density associated with a transmissivity of 70% the Control first Switch position the spectacles operate precisely as
Unit 103 would apply 2V potential to the lens for 1.35 sec described in the first preferred embodiment. In a second
onds.                                                               Switch position the spectacles operate as Sunglasses. Toggling
   This is a simplified example for illustrative and teaching 45 the Switch changes the spectacles to operate with the Switched
purposes. Other electrochromic materials may have other characteristics. The lenses of the third preferred embodiment
operating characteristics that have characteristic exponential, are single-layer, and are precisely the same as described in
negative exponential, or logistic (S-shaped) relationships. In FIG.2a and FIG.2b. The control unit 103 of the first preferred
this example, 2V potential is used to move between states. It embodiment is modified and presented as a new Control Unit
is used under the assumptions that (a) for this electrochromic 50 1103. This control unit takes as an additional input the posi
formulation the higher the electronic potential the more rapid tion of the selection Switch 1101. If the Switch is positioned
will be the change from a lighter to a darker optical density,      so the spectacles operate as Continuous Adjustable 3Deeps
and (b) change of state from a lighter to a darker optical Filter Spectacles then the Control Unit controls the lenses of
density is to be optimized. Other materials may require dif the spectacles in precisely the same fashion as previous
ferent potentials to be applied to move from between states. In 55 described in FIG. 4. If the Switch is positioned so that the
any of these cases, the principle of operation is identical and spectacles operate as Sunglasses, then the Control Unit con
the Control Unit 103 on the frames of the lenses uses the           trols the lenses so that they both take the same pre-specified
operating characteristics of the material used in the right 105 dark optical density and operate as ordinary Sunglasses.
and left 106 lenses to determine the potential and the length of       FIG. 11 is a perspective view 1100 of the third preferred
time the potential is to be applied to transition between lens 60 embodiment of the Continuous Adjustable 3Deeps Filter
control States.                                                     Spectacles 1150 with single-layered lenses. The difference
   FIG. 10 is a transition time curve 1000 for a double layer between the single-layered lenses of FIG. 1 and FIG.11 is that
(multi-layer) of electrochromic material with transition time in the third preferred embodiment a selection Switch 1101
as a function of transmissivity. FIG. 10 is similar to FIG. 9 has been added to the spectacles, and the control unit 1103 has
with the addition of a second Operating Characteristic curve 65 been expanded to include control of the Sunglasses. All like
1003. The numbered elements of FIG. 10 have the same                numbered items in FIG. 11 and FIG.1 have the same function
description as their like numbered elements of FIG. 9. The          and definition. The selection switch 1101 may take either of
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two positions. In the first position, the spectacles will operate    fabricated from two layers with electrochromic devices that
as Continuous Adjustable 3Deeps Filter Spectacles precisely          have different optical characteristics. In this fourth preferred
as described in the first preferred embodiment. In the second        embodiment of the invention the first layer of electrochromic
position, the spectacles will operate as Sunglasses.                 uses the same material to fabricate the lenses as has previ
   The third preferred embodiment uses lenses identical to the       ously been described a neutral density filters that block the
lenses used in the first preferred embodiment and described in       transmission of light approximately equally along the entire
FIG. 2a and FIG.2b.                                                  visible spectrum. The second layeruses electrochromic mate
   FIG. 12 is a block diagram 1200 of the operation of the rial that can be electronically controlled so the left lens is clear
Continuous Adjustable 3Deeps Filter Spectacles 1150 of or can be set to allow transmission of light in the visible red
FIG. 11 using a single layered electrochromic device for 10 spectrum and the right lens is clear or can be set to allow the
fabricating the electronically controlled variable tint material transmission of light in the visible blue spectrum. The two
of the right 105 and left lenses 106. All circuits on the Con layers of material are switch selectable so that either of the
tinuous Adjustable 3Deeps Filter Spectacles 1150 are pow layers may be activated, but not both layers at the same time.
ered 301 by the battery 104, including the Control Unit 1103, These Multi-Use Electrically Controlled Continuous Adjust
Signal Receiving Unit 102, the Left Lens 106, and the Right 15 able 3Deeps Filter Spectacles thus are switch selectable so
Lens 105. The control information 110 is received by the they can be used to watch 2D (single image viewed by right
Signal Receiving Unit 102 and sent 302 to the Control Unit and left eyes) movies in 3D using the 3Deeps methodology or
1103. The switch 1101 position is also powered 301 by the alternatively to watch specially made 3D movies (separate
battery 104, and its position is output to the Control Unit left and right images) formatted for anaglyph 3D viewing.
1103. The Control Unit 1103 implements an algorithm that is             FIG. 14 is a perspective view 1400 of the fourth preferred
specific for the multi-use (Use 1: 3Deeps spectacles or Use 2:       embodiment of the Multi-Use Electrically Controlled Con
Sunglasses) single-layered Continuous Adjustable 3Deeps tinuous Adjustable 3Deeps Filter Spectacles 1450. Like num
Filter Spectacles, and controls the Left Lens 106 with a con bered items in FIG. 5 and FIG. 1 have the same function and
trol circuit 1203, and the Right Lens 105 with a control circuit definition. The primary difference between this embodiment
1205.                                                             25 and previous embodiments is in the use of different electro
   FIG. 13 is a flow chart 1300 showing the operation of the chromic devices for the layers of the lenses (described further
Control Unit 1103 of the multi-use Continuous Adjustable in FIG. 15a and FIG. 15b), and in the Control Unit 1403 that
3Deeps Filter Spectacles 1150 with single-layered lenses. controls the operation of the spectacles based on the position
The switch position 1202 is input to the Control Unit 1103 of the Switch 1101. The toggle switch 1101 allows either the
and processing commences with Switch1 or Switch 22 1370 30 first layer 411 of the multi-use 3Deeps spectacles 1450 to be
that can parse the Switch position and determine which posi activated (3 Deeps method of viewing 3D) or it allows the
tion the Switch 1101 is in. If the Switch position is in the first second layer 1501 of the multi-use 3Deeps spectacles to be
position then the control processing 103 is used. This is the activated (anaglyph 3D viewing.) In this fourth preferred
same as the control processing for the First Preferred embodiment of the invention, only one layer may be activated
Embodiment and is described in FIG. 4. Only the input and 35 at a time. Other embodiments may allow more than one layer
output to the control processing 103 is shown in FIG. 13—not of material to be active at one time. The control unit 1403 has
the details of the processing that is the same as shown in FIG. all the functionality of control unit 103 when the first layer is
4. If the Switch position is in the second position then the active. When the first layer is active both lenses of the second
control processing 1240 for Sunglasses is used. Pre-selected layer are set to their clear state. When the second layer of is
Optical densities for the left lens 106 and right lens 105 are 40 activated the control unit 1403 will run a control program
stored in the controller as the Left OD 1311 and the Right specific to the control of anaglyph 3D viewing. In particular
OD 1313. First the Right OD 1313 is read by the Right when the second layer is activated for anaglyph viewing, both
Lens Control processing 1317 and an electronic signal is lenses of the first layer of material are set to their clear state,
issued on circuit 1205 to change the Right Lens 105 to that and the left lens 1406 of the second layer is set to a red and the
associated Optical Density. Processing then passes to the 45 right lens 1405 of the second layer is set to blue. This state is
 Left Lens Control 1315 that reads the pre-stored value Left maintained throughout the viewing of the anaglyph 3D movie
OD 1311 and an electronic signal is issued on circuit 1203 to and no additional switch of state is required of the control
change the Left Len 106 to that associated value.                    program as is the case with 3Deeps viewing. In this way the
   This exemplary Control Unit 1103 has been purposely left lens is red and the right lens is blue as required for
simplified for clarity and to show the principles of the control 50 anaglyph 3D movies.
operation. It shows two separate control circuits—the first             FIG. 15a 1500 shows a left lens 1006 of Multi-Use Elec
103 for control of Continuous Adjustable 3Deeps Filter Spec trically Controlled Continuous Adjustable 3Deeps Filter
tacles, and the second 1240 for control of sunglasses. The Spectacles fabricated from multiple layers of electrochromic
Control Unit 1103 has two separate memory storages for the material. Its fabrication using electrochromic material is
Left and Right optical densities. It should be understood that 55 shown in adjoining FIG. 15b. Since only a single layer of
good engineering design would reuse as much circuitry as insulating glass material will be required between the differ
possible for two controlling functions of the Control Unit ent layers of the multi-layered electrochromic lens, the draw
1103. So for instance, another implementation of the Control ing of the top layer is slightly different than that of FIG.2a to
Unit 1103 may only have a single memory storage for the Left emphasize that only one layer of Such insulating material is
and Right optical densities that are used by both the circuitry 60 necessary. FIG. 15a therefore shows the lens 1006 as two
controlling the 3Deeps Filter Spectacles and the circuitry layers where the first active layer 411 is separated by the
controlling the Sunglasses.                                          second active layer 1501 by an insulating layer 410. The first
A Fourth Preferred Embodiment of the Invention                       active layer 411 and the insulating layer 410 comprise the
   In the second preferred embodiment of the invention the single layer lens 106 of FIG.2a.
right and left lenses of the 3Deeps spectacles are fabricated 65 FIG. 15b 1525 shows the cross-sectional details of the
from multiple layers of the same electrochromic material. In Multi-use electrochromic device of FIG. 15a for fabricating
a fourth preferred embodiment of the invention, the lenses are the electronically controlled variable tint material of the right
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and left lenses of the Continuous Adjustable 3Deeps Filter            of TABLE 1 labeled “OptoElectronic Device is a brief
Spectacles using multiple layers of electrochromic material.          description of the controllable optical characteristic neces
The 7 layers of the electrochromic left lens 106 of FIG.2a are        sary to achieve the associated viewing method.
                                                                                         TABLE 1

                                                         Viewing Method                        OptoElectronic Device
                                                    1    3Deeps movies (2D images viewed as Single or multi-layers variable tint device
                                                         3D)
                                                    2    Anaglyph 3D movies                 Right Lens Blue; Left Len Red device
                                                    3    IntruD 3D movies                   Right Lens Blue; Left Lens Amber device
                                                    4    Optimum emissive colors of TV      Optimized to emissive colors of TV
                                                         phosphors (for Methods 1, 2, 3)
                                                    5    Polarized Lenses 3D movies         Right and left lenses at 90% polarization
                                                                                               device
                                                    6    Vision correction                     Near- or far-sightedness correction device
                                                    7    Shutter glasses                       Rapid shuttering between clear and totally dark
                                                                                               device
                                                    8    Sunglasses                            Single layer variable tint device
                                                    9    Optical property of light             Electro Optical control of a property (or
                                                                                               properties) of light


shown in FIG. 15b as the 6 active layers 411, and the (seventh)       With respect to the Method No. 1 of the table, the use of an
insulating layer 201. Each layer is identical to their like num electrochromic optoelectronic device for viewing 3Deeps
bered description accompanying FIG. 2b. A second active 25 movies with a single-layer of variable tint lenses has been
layer 1501 is included in the multi-layered electrochromic previously described in the first preferred embodiment of the
lens. In this fourth preferred embodiment of the invention, the invention, and the use of an electrochromic optoelectronic
second layer 1501 of the lens is fabricated from electrochro device for viewing 3Deeps movies with multi-layers of vari
mic material that is totally different from the neutral density able tint lenses has been previously described in the second
electrochromic material of the first layer. This second layer of 30 preferred embodiment of the invention. With respect to
electrochromic material will have its own Operating Charac Method No. 2 of the table, the use of an electrochromic
teristic curve and electronically control properties of light optoelectronic device for viewing anaglyph 3D movies (left
differently from that of the first layer.                           lens red and right lens blue) with Multi-Use Electrically Con
   In particular, FIG. 15b shows the left lens 1406 of the trolled          3Deeps Continuous Adjustable 3Deeps Filter Spec
Multi-Use Electrically Controlled Continuous Adjustable 35 tacles has          been previously described in the third preferred
3Deeps Filter Spectacles with a second layer of electrochro embodiment            of the invention.
mic material. The second layer is fabricated from electrochro         The  Multi-Use   Electrically Controlled 3Deeps Continuous
mic material that can be electronically controlled to allow the
transmission of light in the clear or visible red spectrum. (A Adjustable 3Deeps Filter Spectacles described may also
right lens that is not shown would be fabricated from electro 40 replace the layers of materials described or add additional
chromic material that can be electronically controlled to layers of materials (with corresponding changes to the
allow the transmission of light in the clear or visible blue manual Switches of the spectacles and the control program) to
spectrum.) The second multi-layer of electrochromics of the achieve other methods of electronically assisted viewing
multi-use lens is made from 6 layers of material. The top layer spectacles. Such methods may include: Intru3D 3D movies
1501 is made from an insulting layer of glass, plastic or other 45 (Method No. 3) with left lens amber and right lens blue;
clear insulating material. This is followed by layer 1502 of a optoelectronic devices (Method No. 4) that are tuned to the
conducting layer, followed by a third layer 1603 of polymer. optimum emissive colors of a TV phosphor, optoelectronic
A fourth layer 1504 provides the ion transport whose direc devices (Method No. 5) that allow viewing of 3D movies
tion is determined by the application of potential across the using polarized lenses in which the right and left lenses have
conducting layers. The fifth layer 1505 is the complementary 50 polarizations that are perpendicular to each other, optoelec
polymer layer, and is then followed by another conducting tronic devices that provide prescription glasses that correct
layer 1506. The polymer layers 1503 and complimentary vision such as near- or far-sightedness (Method No. 6); opto
polymer layer 1505 provide the electronically controllable electronic devices that allow viewing of 3D movies by the
tinting of the lens as either clear or red. The right lens—not shutter glass method (Method No. 7) in which there is rapid
shown would have polymer and complimentary polymer 55 shuttering between a clear and totally dark State for one eye,
layers to provide electronically controllable tinting for the while the other eye has corresponding states of totally dark
right lens as either clear or blue.                                 and clear in Synchronization with right and left images of the
   TABLE 1 shows the different types of Optoelectronic displayed motion picture. The spectacles have a layer
materials that may be used in the fabrication of Multi-Use (Method No. 8) that when activated provides sunglasses. Any
Electrically Controlled Continuous Adjustable 3Deeps Filter 60 other optical property of light that can be beneficially con
Spectacles. The first column of the TABLE 1 is a numbering trolled by an optoelectronic device (Method No. 9) can be
of the methods—but no preference is to attributed to the used as a layer of the Multi-Use Electrically Controlled
ordering. The Method Number is used for reference in the 3Deeps Continuous Adjustable 3Deeps Filter Spectacles. In
disclosure. The second column of TABLE 1 labeled Viewing some embodiments of the invention several methods may be
Method and is the type of viewing that may be attained 65 operable at the same time as when Vision correction optoelec
through the use of the associated optoelectronic device that is tronics (Method No. 6) is active at the same time as any of the
described in the third column of TABLE 1. The third column          methods for viewing 3D movies.
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                              33                                                               34
   FIG. 16 is a block diagram 1600 of the operation of the right lenses 1405 of the first layer 411 of the multi-use Con
multi-use Continuous Adjustable 3Deeps Filter Spectacles tinuous Adjustable 3Deeps Filter Spectacles 1450 over the
1450 with multi-layered lenses. All circuits on the multi-use control circuits for the left lens 1603 and control circuit for the
Continuous Adjustable 3Deeps Filter Spectacles 1450 are right lens 1605. In this case the second layer 1501 has been set
powered 301 by the battery 104, including the Control Unit so both right and left lenses of the second layer are clear. If the
1403, Signal Receiving Unit 102, the Left Lens 1406, and the Switch position is in the second position then the control
Right Lens 1405. The control information 110 is received by processing unit electronically controls the 3Deeps spectacles
the Signal Receiving Unit 102 and sent 302 to the Control for anaglyph 3D viewing by switching the left lens 1406 to
Unit 1403. The switch 1101 position is also powered 301 by red and right lens 1405 to blue of the second layer 1501 of the
the battery 104, and its position is output 1202 to the Control 10 multi-use Continuous Adjustable 3Deeps Filter Spectacles
Unit 1403. The Control Unit 1403 implements an algorithm               1450 over the control circuits for the left lens 1603 and control
that is specific for the multi-use (Use 1: 3Deeps spectacles or circuit for the right lens 1605. In this case the first layer 411
Use 2: Anaglyph 3D viewing) multi-layered Continuous has been set so both right and left lenses of the first layer are
Adjustable 3Deeps Filter Spectacles, and controls the Left clear.
Lens 1406 with a control circuit 1603, and the Right Lens 15 This exemplary Control Unit 1403 has been purposely
1405 with a control circuit 1605.                                      simplified for clarity and to show the principles of the control
  FIG. 17 is a flow chart 1700 showing the operation of the            operation. It shows two separate control circuits 103 and
Control Unit 1403 of the Multi-Use Electrically Controlled             103a—the first 103 control circuit for control of Continuous
Continuous Adjustable 3Deeps Filter Spectacles 1450 with Adjustable 3Deeps Filter Spectacles (first layer 411), and the
multi-layered electrochromic lenses. The switch position 20 second 103a control circuit for anaglyph 3D viewing (second
1202 is input to the Control Unit 1403. Processing com- layer 1501). FIG. 17 shows each circuit 103 and 103a with its
mences with Change both right and left lens of layer 1 and 2           own circuits for control of the left lens 1406 and control of the
to clear 1761 by switching both the right lens 1505 and left right lens 1405. It should be understood that good engineering
lens 1506 of the first electrochromic layer 411 and the second design would reuse as much circuitry as possible for two
electrochromic layer 1501 to clear. Processing is then trans- 25 controlling functions of the Control Unit 1403.
ferred to a control circuit Switch 1 Or Switch 22 1763 that               TABLE 2 shows control information for Multi-Use Elec
can parse the Switch position and determine which position trically Controlled Continuous Adjustable 3Deeps Filter
the Switch 1101 is in. If the Switch position is in the first Spectacles. Such control information is necessary when the
position (3Deeps viewing) then a first control processing unit Multi-Use Electrically Controlled Continuous Adjustable
103 is used to control the first layer 411 of the lenses of the 30 3Deeps Filter Spectacles are under remote control rather than
Multi-Use Electrically Controlled Continuous Adjustable a manually control 1101 as shown in FIG. 14.
                                                                                               TABLE 2
                                                    Method                                       Control
                                                      No.    Viewing Method                      Code      Control Information
                                                       1     3Deeps movies (2D images viewed Ctrl-1        Optical Density for left and right lens
                                                             as 3D
                                                       2     Asph 3D movies                      Ctrl-2    None
                                                       3     IntruD 3D movies                    Ctrl-3    None
                                                       4     Optimum emissive colors of TV       Ctrl-4    Real-time setting of optical density of
                                                             phosphors (for Methods 1, 2, 3)               right and left lens
                                                       5     Polarized Lenses 3D movies          Ctrl-S    None
                                                       6     Vision correction                   Ctrl-6    Real-time optical property of density
                                                                                                           of right and left lens
                                                       7     Shutter glasses                     Ctrl-7    Shutter synchronization
                                                       8     Sunglasses                          Ctrl-8    Real-time setting of Sunglass color of
                                                                                                           right and left lens
                                                       9     Optical property of light           Ctrl-9    Optical property of right and left lens


3Deeps Filter Spectacles 1450. If the Switch position is in the 50 Control information for Continuous Adjustable 3Deeps
second position (anaglyph viewing) then a second control Filter Spectacles has been previously shown in the related
processing unit 103a that is similar to the control processing patent application Ser. No. 12/274,752. In that related disclo
unit 103 shown in FIG. 4) is used to control the second layer Sure no multi-layer or multi-use information was required of
1501 of the lenses of the Multi-Use Electrically Controlled the spectacle control protocol since the Continuous Adjust
Continuous Adjustable 3Deeps Filter Spectacles 1450.                55 able 3Deeps Filter Spectacles had only a single-layer and a
   The two control processing units 103 and 103a of the single-use. With Multi-Use Electrically Controlled Continu
Control Unit 1403 are the same as the control processing unit ous Adjustable 3Deeps Filter Spectacles that are under
for the First Preferred Embodiment and is described in FIG. 4.         remote control, a control code sequence may be transmitted to
The first control processing unit controls the spectacles for signal the Control Unit 1403—which layer of the multi-lay
3Deeps viewing and the second control processing unit con 60 ered spectacles the controlling information references.
trol the spectacles for anaglyph 3D viewing. Only the input               The first column of the TABLE 2 is a numbering of the
and output to the control processing 103 is shown in FIG. methods—but no preference is to attributed to the ordering.
17—not the details of the processing that is the same as shown The Method Number is used for reference in the disclosure.
in FIG. 4.                                                             The second column of TABLE 2 labeled “Viewing Method
   If the Switch position is in the first position then the control 65 identifies the viewing method. Columns 1 and 2 of TABLE 2
processing unit electronically synchronizes to the movie are the same as in the like labeled column of TABLE 1. The
using 3Deeps technology by controlling the left 1406 and third column of TABLE 2 labeled “Control Code has the
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control code in the RF sequence that is utilized by the Control       In yet another embodiment of the invention, rather than use
Unit 1403 to switch control to the associated lens. For            electrochromic materials that have the same optical proper
instance, when the Multi-Use Electrically Controlled Con ties (transmission OC curve), materials with different optical
tinuous Adjustable 3Deeps Filter Spectacles of FIG. 10, properties may be beneficially utilized.
receive a "Ctrl-2 sequence it switch to control of the associ         As lenses get older their OC curve may change. In another
ated method in this can Anaglyph 3D movies. Once the embodiment the control program may tune the control OC
Multi-Use Electrically Controlled Continuous Adjustable curve based on age or time of use so that the spectacles do not
3Deeps Filter Spectacles have received a Control Code              appear to degrade in performance as they get older.
sequence, all the control information that then follows will be 10 The switch selection for the Multi-Use Electrically Con
interpreted to control the associated method. In the current trolled Continuous Adjustable 3Deeps Filter Spectacles was
example where a Ctrl-2 sequence is received switching the shown on the spectacles. Alternatively, the Switch selection
spectacles into Anaglyph 3D mode, all follow-on control can be activated by the viewing media by broadcasting a RX
information received by the spectacles would be interpreted signal that is picked up by the receiving unit of the 3Deeps
to as controlling the Anaglyph 3D spectacle method and lens 15 spectacles 102, passed to the control unit of the spectacles,
layer. Such follow-on control information references the and which are read and acted upon by the control program that
 switched method until another control-code is received.           controls the operation of the spectacles. For instance, a con
   A description of the contents of the Follow-on control trol code at the beginning of an anaglyph motion picture may
information associated with each of the viewing methods is allow the spectacles to respond by taking the proper configu
indicated in column 4 of the table, labeled Control Informa        ration for viewing of anaglyph 3D encoded motion pictures
tion. When the Control Unit 1403 of the spectacles receive a without any manual intervention by the viewer.
 Ctrl-2 sequence indicating it is to Switch to anaglyph mode,         In other embodiment of the invention the multi-layered or
the control unit 1403 changes the left lens 1406 to a red and multi-use lenses may be in the form of clip-on lenses that
the right lens 1405 to a blue color. The spectacles stay in this readily fit over normal prescription lenses.
mode until another CTRL-code is received switching the 25 In still another embodiment of the invention, multi-use
spectacles to another method. Since the Anaglyph method, 3Deeps viewing spectacles are fabricated from a single layer
activated by Control Code, CTRL-2 requires no further or of an electropolychromism device.
follow-on controlling information, the entry for Anaglyph in          Previous related patent applications (such as U.S. Pat. No.
the Control Information column is None indicating that no 7,508.485) have disclosed systems and methods by which a
further control information is required for the Anaglyph 30 motion estimation value that characterizes movement in a
mode. Similarly, no additional control information is required frame of a 2D motion picture may be extracted from Succes
for Intru3D 3D movies; and, Polarized lenses. Control Infor        sive frames of the motion picture. The motion estimation
mation is required for methods 3Deeps Movies; Optimum value and a luminance value are used to calculate an optical
emissive colors of TV; Vision correction; shutter glasses; density for the lens of the Pulfrich Filter spectacles and are
Sunglasses; and, Optical Property of Light.                     35 transmitted to the Pulfrich Filter spectacles. The transmitted
   The control information that is received wirelessly 102 by values are used to control the optical density of the lenses of
the Multi-Use Electrically Controlled Continuous Adjustable the Pulfrich Filter spectacles. In still another embodiments of
3Deeps Filter Spectacles of FIG. 14 may be transmitted by the invention, the motion estimation value is calculated from
any of the means disclosed in the related patent applications the motion estimation values that are part of the MPEG digital
including but not limited to; DVD-based control units; Digital 40 Video compression standards.
Movie Projector control units; Television-based control units,        In another embodiment of the invention, the 3Deeps elec
hand-held and operated control units; spectacle-based control trochromic Sunglasses have additional variable brightness
units, and cell-phone based control units.                         controls. In one case, the Sunglasses have means by which the
Other Embodiments                                                  user can set the darkness level of the Sunglasses. That is,
   While the preferred embodiments have been described 45 rather than a have Pre-selected optical densities value for the
using electrochromic materials, other electro-optical (opto left lens and right lens stored in the control unit (as in FIG. 13,
electronics) materials may be utilized. Any material for which the optical density value of the lenses of the Sunglasses is
the optical properties can be controlled by the application of under the control of the user. A rotary or slide switch could be
a potential across the material may be advantageously used in utilized to select any optical density between the low and high
the invention.                                                  50 values of the switch. In another embodiment a multi-pole
   While the preferred embodiment uses 2 layers of electro Switch is used so that user can select one of a set of pre
chromic materials, even faster Switching time can be achieved selected optical densities for the lenses of the Sunglasses.
by using 3 or more layers.                                            In another embodiment of the invention the 3Deeps elec
   While the preferred embodiment uses the same voltage trochromic Sunglasses, the variable brightness of the lenses of
applied to each of the multi-layers of the lenses, other 55 the Sunglasses operate similarly as an electrochromic version
embodiments may achieve control over the Switching time to of photochromatic lenses. That is, the optical density of the
the optical optimal density by the application of different 3Deeps Sunglasses is set in accordance with a continuum of
Voltage across each layer of the multi-layered lenses of the the ambient surrounding light. In low light (dark) there would
Continuous Adjustable 3Deeps Filter spectacles.                    be a minimum of little or not darkening of the lenses, while in
   In some embodiments of the invention, several different 60 intense Sunlight Such as at noon on a cloudless Sunny day the
layers of multi-use-electronic materials may be Switch select lenses would take an extreme dark value. Lighting situations
able and active at the same time to achieve different optical in-between would result in the optical density values for the
effects. For instance electronically controllable vision correc lenses in-between the minimum and maximum values. This
tion may be combined with Continuous Adjustable 3Deeps could be achieved for instance by incorporating a photodiode
Filtering to provide a single pair of viewing spectacles that 65 on the 3Deeps spectacles that measures the ambient light at
both correct vision while at the same time providing optimal the spectacle frames, and inputs that value to the control unit
3Deeps viewing of 2D motion pictures as 3D motion pictures. on the spectacles.
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   In another embodiment of the invention, the Continuous            and, if one letter A were to be slightly different in size from
Adjustable 3Deeps Filter Spectacles may not respond to the other, the letter would appear to be moving in depth, i.e.
every synchronization signal. While Some electrochromic given a third dimension.
materials may have been reported that have a cycle life of up           In FIGS. 20 a-20c the background of Picture E is identical
to 50 million changes—and even higher values can be to the background of Picture D except that the image A is
obtained if the Continuous Adjustable 3Deeps Filter Spec off-set slightly to the right.
tacles are made from a material with a shortened cycle life it          FIGS. 21 a-21 billustrates the present invention where the
may be necessary to also additionally consider and optimize series is two of each picture placed in side-by-side frames. It
for the operation of the spectacles for the cycle life. While the has been found that two pictures side-by-side are visually
synchronization signals would still be broadcast for every 10
frame, the Continuous Adjustable 3Deeps Filter Spectacles equivalent C  is
                                                                                 to a blend. In other words, a series of A, A, B, B, C,
                                                                           visually equivalent to a series of C/A, A, A/B, B, B/C, C.
may be set to only process and respond to some of those                 Additionally,  a series made in accordance with the present
changes so as efficiently use cycle life. This make sense, as invention need not
scenes that exhibit movement may be on the order of 10-30 arranged to provide abedifferent      uniform in that the pictures can be
                                                                                                       rhythm or beat to the film. For
seconds long, or longer, and the same optical density setting     15
will provide a near-optimal setting for the Continuous Adjust example, the series could be: C/A, C/A, A, A/B, A/B. B. B. B.
                                                                     B/C, C, C, C. Different arrangements provide different visual
able 3Deeps Filter Spectacles. To address cycle time then, the perceptions.
Continuous Adjustable 3Deeps Filter Spectacles may use a
combination of ad-hoc rules such as (a) responding only to              Furthermore, a plurality of different series can be com
every nth synchronization event; (b) responding to only Syn bined together, i.e. C/A, A, B, B, C with C/A, C/A, A, B, B, C,
chronization events with changes to the optical density of C to form C/A, A, B, B, C, C/A, C/A, A, B, B, C, C.
more than a pre-set percent; (c) responding to synchroniza              FIGS. 22a-22 c illustrates the invention where both pic
tion events in which there is a change to direction of motion; tures are identical except for the position of a Superimposed
(d) responding to synchronization events in which there is a image F on the pictures. Image F could be taken from the
change in presence or absence of motion; (e) scene change, or 25 original picture G or could be taken from another picture,
(f) Some other motion picture frame event.                           which is separate and distinct from pictures G and H. For
                                                                     example, pictures G and H could have the common back
                               ck
                                                                     ground of a country side road while image F is a man walking
                                                                     his dog. In picture G, the man and his dog is placed at one
   FIG. 18 a illustrates three pictures that are employed in a 30 location while on picture H the man and his dog is placed at a
method in accordance with an embodiment. Picture A, illus            different location on the country road. By viewing the repeat
trated with lines slanting upward left to right, and Picture B. ing of a series of G, H, C, a viewer is given with the impression
illustrated with lines slanting downward from left to right. that the man is walking his dog down the road, from top of the
Both pictures A and B are single frame photographs such as frame towards the bottom of the frame, appearing to be con
two side-by-side frames taken from a movie film showing 35 tinually moving in the same direction without changing his
movement of an object, for example, a woman walking down actual position.
a street or a man walking his dog. Such side-by-side frames             Furthermore, image pictures can be identical except that
would be similar to each other but not identical. Picture C is       when they are arranged in the frame, one is oriented slightly
a solid black picture.                                               tilted relative to the other. The repeating series provides the
   In FIG. 18 b pictures A, B and C are arranged in sequential 40 visual perception that the picture is spinning.
order, and placed on picture frames to form a series. In FIG.           Also, the size of or the orientation of image F in FIGS. 22
18 c this series is then repeated to produce the appearance of a-22 c can be varied while maintaining the location of image
movement by pictures A and B.                                        F. Varying the size gives the viewer the impression that the
   Turning to FIG. 19 a and the use of blended pictures, the man is walking forward or backward, depending on the order
three pictures are combined to produce a blend of CIA, blend 45 in which pictures are arranged. Changing the orientation or
of A/B and a blend of B/C by using Adobe Photoshop or tilting of image F leaves the viewer with the impression that
another program to make a 50/50 blend of the three pictures. the man is spinning.
   In FIG. 19 b, all six pictures are placed side-by-side to            The repeating series can be viewed in any media, it could
create a series and the series is copied to create a continuous be digitalized or placed on conventional film for viewing.
or semi-continuous film video or computer sequence where 50 The movement created by the invention is seamless move
the series is repeated a plurality of times as shown in FIG. 19 ment, Sustained fluid entirely on-going movement.
C.                                                                      Continuous movement means the illusion of a progressive
   FIGS. 20 a-20 c illustrates an alternative three pictures that action that can Sustain as such into infinite time. For instance,
are employed in the method of this invention. Picture Dand a door beginning to open, it keeps beginning to open without
Picture E both illustrate a capital A, however, in Picture D, the 55 ever progressing to the stage of actually opening. A door, in
capital A is aligned with the center of the frame while in reality, in order to repeat this very limited movement, would
Picture E the A is off-set to the right of the center of the frame have to move back and forth, recovering territory in order to
(exaggerated here to be visible; in actual practice the dis go forward again, but in this visual illusion the door only
placement of figures might be so Subtle as to not be discern moves forward. A normal film or video might approach this
able as illustrated here). Picture C is identical to Picture C in 60 effect by multiple printing of the picture frames depicting
FIG. 18 a.                                                           only the forward motion, so that a return motion would be
   The capital A is chosen for FIGS. 20 a-20c for illustration hidden from audience eyes, but the effect would be of a visual
purposes and could be a single photograph of anything.               Stutter, the action would be repeating, and not continuous.
   The three pictures are placed side-by-side to form a series. The “stutter could be made less obvious and percussive by
Finally, the series is copied a plurality of times to form a 65 dissolving head frames of the shot into tail frames, but only
repeating series. The repeating series in FIG. 20c creates the with some subject matter (i.e., a waterfall) might the repeat
optical illusion that the letter A is moving from left to right character of the motion not be apparent.
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   The appearance of transfixed continuous motion (a going itself moves, capturing the 3-dimensional scene from another
without going anywhere) is created in this invention from a perspective, and thus shifting two-dimensional placement of
specific employment offlicker, the contrast created by view pictured objects (which may not have moved in actuality) as
ing the slight shifting of a pictured form or forms between the recorded exposure to exposure. Because distance or direction
image pictures in opposition to the bridging picture. Movies traversed by the camera between exposures is not constant,
have always been dependent for their illusion of continuity on nor movement by Subjects recorded under photographer con
flicker-rates; silent movies filmed at 16 frames per second trol, the visual equation of two-dimensional similarities and
required 3-bladed shutters not only to block projection light differences from which 3-dimensional movements will be
during the Successive replacing of frames but also to twice constructed cannot produce Scenes as reliably life-like as can
interrupt the display of each frame so as to achieve a flicker 10 simultaneous Stereo-exposures with a fixed horizontal dis
rate that the viewer would mistakenly see as uninterrupted tance of 2/2 inches between a pair of lenses. Eternalism 3-D
light. Slow cranking of the film through the projector gave movements made from sequential exposures are not intended
rise to “the flickers' as a pejorative. Video and computer to offer scientific data pertaining to reality but instead to
image-continuity depends likewise on rapid on-off display. provide odd and expressive impossible-in-reality impres
The present invention purposely makes flicker apparent, ulti 15 sions.
lizing the effects of emphatic flicker on the human optical/           The stereo still-camera provides a pair of mentally com
nervous system to create uncanny time and space illusions.          binable left and right eye flat image pictures; viewed one
   Simple alternation of a single image picture with intervals picture to each eye, similarities and differences are automati
of blackness (or any other interrupting color/s) is enough to cally assessed and a semblance of familiar depth is seen. We
create subtle illusions of continual sliding movement across gaze from plane to plane into a seeming depth, the angling of
the screen. Alternations of two image pictures with an inter our two eyes "crossing for close objects and spreading to
rupting interval of a Solid colored picture provides any num parallel alignment for very distant ones (Yet we remain
ber of continuous motions, including motion into illusionistic focused on the same plane in depth, the actual plane of the
depth. While such screening-illusions of movement and picture Surface; in life, we constantly refocus as well as angle
depth resemble movements and depths as seen in actuality; 25 for different distances.) We are not conscious, either in actual
this is a creative artistic method and not intended as a reliable   life or when looking into such artificial depths, of the dou
way of reporting the actuality that may have existed in front of bling of forms (as they fall back into 2-dimensionality) at
a CaCa.                                                             distances that we are not at the moment angling for. This
   As noted above, no special viewing devices are required to automatic angling operation of the eyes cannot happen when
view the present invention, although certain effects can be 30 looking with both eyes at the same territory of flat picture
enhanced or put through interesting changes when viewed Surface. The coinciding of opposing 2-dimensional perspec
with a filter intercepting and reducing light to one eye; the tival viewings of an object (by which volume can be con
“Pulfrich Effect.                                                   ceived by the mind) must be done for the viewer, a task greatly
   Remarkably, with the present invention, depth illusions can enabled by the computer.
be experienced even by the single-eyed person. Normally our 35 The present invention revolves each set of picture-units in
perception of depth, Stereopsis, depends on properly func place, but if a figure from one perspective is not placed in a
tioning binocular vision, two eyes working in tandem with correspondingly similar position in its frame (and in match
each other; one of the benefits of this invention is to offer       ing horizontal alignment) with its representation as recorded
visual depth experience to those deprived of such experiences from another perspective, there is only a 2-dimensional jig
by physical defect. Because contrasting perspectival informa 40 gering with no volume illusion or continuous direction of
tion is available to both or either eye, a single eye becomes movement created. With the computer, one can slide and
sufficient to deliver the information to the brain when             place one picture, or an area of that picture, into exact rela
employing the present invention.                                    tionship with a matching picture or area So as to achieve the
   The present invention is best created on the computer, to be precise effect desired. (A recorded object becomes an area
viewed on the computer or transferred to film or any video 45 within a flat picture-image.) The slightest advance in a par
format. It can also be created directly onto film or video but ticular direction of the contour of one area in relation to its
the precision control possible with the computer is lacking.        match-up area determines movement in that direction. Slight
   The present invention can employ very small shifts in the shrinking or enlargement of one area compared to the other
placement of objects as seen in one picture in relationship to creates a "Zooming in or out effect. A problem in overlaying
another similar picture. Such small object-placement shifts 50 one entire picture over another in order to match up one area
are also to be found in the simultaneously exposed pairs of usually means other areas will not coincide, not synchronize;
frames made with a stereo still-camera, its two lenses placed but the computer allows for each area to be matched sepa
horizontally apart approximately the distance between rately and inlaid into the scene according to one’s depth
human eyes. The stereo still-camera offers object-placement movement intentions for each area. The crazy-quilt artifici
differences derived, as with our two eyes, from a fixed interval 55 ality of a scene can be hidden or obvious, its parts drawn from
of space: the twin perspectives recorded by lenses 2/2 inches a single-pair source of related images or from as many
apart. The degree of inter-ocular distance, as it is called,        Sources as desired. Photo-images can be mixed with or
enormously affects the character of depth to be seen when the replaced by drawn and painted imagery. The scene can imitate
Stereo-pair is properly viewed one picture to each eye; depth real life one moment and veer off into impossibility the next.
would seem very distorted, either too shallow or too extended 60 Again, although only two image pictures are usually
(with other depth aberrations) if the distance between our cycled, more than two can be worked into a cycle to create a
eyes was not being matched by the two-lens Stereo-camera.           particular effect. Following and inventing variants on the
   In contrast to stereo-camera photography, with the single directions above, and the formula as described below for
lens motion picture camera (film or video), exploitable dif sequencing frames, will create the impression of solid entities
ference between like images arises from the interval of time 65 moving in a charmed dimension where normally transient
between picture-exposures, during which the objects filmed physical gestures can endure forever. In fact, computer inter
shift in spatial relationship to each other, or/and the camera activity can mean the viewer deciding how long the effects of
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each series continues. Further interactivity will give the            images received from horizontally adjacent eyes. The artifi
viewer the option to place picture of his/her own choice into         cial 3-D image can be said to depend on a variable report of
this unique cycling system.                                           actuality. A Pulfrich filter used to view actual three-dimen
   FIGS. 23 a-23 c shows two phases of an action, A & B, plus         sional space will distort that space (assuming the scene is in
black bridge-frame C. We see the pictures separately in FIG.          motion). Similarly, depth in a screen image can be distorted,
23 a. made sequentially adjacent to each other in FIG. 23 b           and in manifold ways, including reversal of near and far and
and presented as a repeating series of pictures, as a "loop' or       direction of motion flow. Such distortions can have expressive
“cycle', in FIG. 23 c.                                                artistic value.
   FIG. 24 a demonstrates the creation of intermediary or               The Pulfrich Effect, triggered (as described above) to
blended frames between A, B and C, which are 50-50% 10 accord with pictured directional motion on-screen, would
blends producing A/C, A/B & B/C. FIG. 24b shows them in have applications beyond use with Eternalized movies. Video
sequence and FIG. 24c shows them repeating as an ongoing games and other video movies featuring extended screen
loop.                                                                movements to left or right could, in many instances, be
   FIG. 25 a shows one figure in isolation, removed from the enhanced for viewers by Pulfrich projection into three-di
previous scene. Pictures D & E may appear identical but are 15 mensional depth. For many such screen events for instance, a
actually two different perspectives which together make pos scene filmed or videotaped from a moving vehicle, especially
sible a 3-dimensional figure. While the recording camera perpendicularly, with the camera aimed at or close to a 90
remained in a fixed position the figure moved before it, frame degree angle from the side of the vehicle, convincingly real
after frame, making two perspectives possible. Because the istic deep space would result. A stipulation of realistic deep
figure moved to different positions in the two film frames, it space, as made available by the Pulfrich Effect, is that the
was necessary to move one figure in one frame so that both partial light-absorbing filter be before the eye on the side to
figures would occupy the same location in both frames. It is which the pictured foreground objects are seen to move. If
now possible to see them as a single 3-dimensional figure filming or videotaping was to be done with the camera aimed
when the frames cycle in quick Succession together with the perpendicular to a vehicle's path of movement, and the cam
bridge frame as shown in FIGS. 25 band 25 c.                      25 era was on the driver's side, motion onscreen would flow
   FIGS. 26 a and 26 b represents the doubling of each frame screen-left, and the Pulfrich filtering would therefore have to
in an A.B.C series.                                                  take place before the left eye; thus the need to switch dark
   FIGS. 27 a-27 C shows a section of picture G & H is filter placement from eye to eye in accordance with direction
repeated in the upper left corner. When observed in quick of screen movement. The filter works best when there is
Succession this series will show the two center figures in one 30 essentially horizontal movement; when viewing an unmoving
configuration of depth and the inset series as an opposing or inappropriate image, both left and right eye filters should
configuration of depth. Left eye/righteyeviews as placed in G clear. Presented as electronic media, such images would ben
& Hare reversed in the inset figure, so that parts of the figure efit from timed application of appropriate Pulfrich filtering.
that (3-dimensionally) approach the viewer in the larger pic This aspect of the invention would allow 3-dimensional mov
ture are seen to retreat away from the viewer in the smaller 35 ies to be created and presented (less spectacles) with the same
picture, and vice versa.                                             cinema technology used for making and presenting ordinary
   FIG.28 illustrates two sets of four; with both similarities (J. 2-dimensional movies.
K, M) and differences (L, N) between the sets, including in Description of the Eternalism Optical Phenomena
the upper left corner an action that straddles bridging frame           The idea of an interval of action running in place without
(M) and picture frame (J). Note the bridging frame is not 40 apparent beginning, middle and end, forever Swelling or turn
completely blank or colored. Frame J has a smaller frame in ing or rising or opening, forever seeming to evolve without
the upper left corner of a larger frame and is an example of a ever actually doing so (until given a determined release into a
combined frame that may be generated by Stitching a first further phase of development), can be literally unimaginable,
frame and a second frame together.                                   so alien is it to our experience. Neither in life or on film or in
   FIG. 29 illustrates an example of an Eternalism effect 45 electronic imagery has it been possible to create the optical
coexisting with more normal screen action, and of an Eter illusion of a door forever cracking open or a muscle rippling
nalism repetition taking place but with no two frames exactly or head turning or any other limited gesture continuing as
alike: a visual element (the circle) proceeds frame to frame such into potentially unlimited time—until advent of this
throughout as it would in a normal movie, unaffected by invention. We have termed this phenomenon Eternalism, and
Eternalism looping. Again, note that the bridging frame is not 50 we speak of pictured forms or objects, Scenes or gesture being
completely blank.                                                    Eternalized into Eternalisms. A further benefit of this inven
   FIG. 30 is an illustration of Pulfrich filter spectacles: (1) tion is enhanced 3-Dimensionality of Eternalized images, a
clear; (2) activated to partly block light reaching figure’s right 3-D that can be reasonably life-like or radically at odds with
eye; (3) activated to partly bock light reaching figure’s left depth as we know it.
eye. Liquid crystal reaction is one method of achieving the 55 Consider, for example, the action of a door opening. And
blocking effect.                                                     select from that entire action only the fraction of time that it
   Certain embodiments may be described as follows:                  would take for the door to just begin to open, as it cracks open
   In the Pulfrich filter effect, interference by the light-reduc a narrow space alongside the doorframe, with the outer edge
ing filter has the effect of retarding the light that does pass of the door Swinging over little more than an inch of flooring.
through it to the eye. As long as forms and objects are chang 60 Designating this very limited time-space interval as a movie
ing position relative to each other as pictured frame to frame, “shot'. The most minimal movie shot possible, it consists of
a delayed picture seen in combination with a present-moment only two running frames of film or video.
picture offers two slightly different pictures simultaneously           In reality, there would be no way to sustain into unlimited
to the mind. Thus an artificial three-dimensional image can be time the very limited action of the door cracking open; to keep
produced by the mind utilizing the same mechanisms that 65 opening and only opening yet never moving past that very
allow it, in viewing actuality, to produce a three-dimensional limited phase of just cracking open. This motion is not
mental image from the pair of two-dimensional perspective repeated but Sustained. The reality, of course, is that to remain
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in motion, and in forward motion only, one would have to           againstits smooth continuity by momentary unit-replacement
move the door to a further phase of motion: the door would         or interjection by other picture units, as for instance: AA,
have to open wider. And the designated space-time interval         B.B. C.C. A.D., B.B., C.E.C. A.A. The entire screen may
would be left behind.                                              Eternalize with the same sequential rhythm (usually the case)
   This is similar to someone walking against the direction of 5 or different parts may sequence with different rhythms to
a conveyer belt walkway (as at an airport) and at exactly the different pictorial effect.
same speed of the conveyerbelt, continually walking forward           Many techniques commonly in use in computer and hand
yet getting nowhere. The Eternalism technique is a sort of crafted movie animation can be adapted to Eternalism use.
cinematic conveyer belt moving in an opposing direction to For instance, similar to Screen combinations of photographed
any moving image placed on it.                                  10 reality with animation cartooning, only a section or sections
   It is a conveyer belt with a beat, a flicker, a visual beat of the screen image may be Eternalized while normal movie
capable of Supple changes. In the history of cinema, flicker— motion proceeds in other sections. Or a figure in normal
referring to visible intervals of darkness between flashes of motion may move through an Eternalized scene. Or, among
Successive film-frames, intrusive reminders of the mechani         other combination possibilities, a smaller Eternalism (which
cal basis of the cinematic illusion—has been a pejorative 15 can be an object or shape or a separately framed scene) may
term. To commercially entertain, the technology needed to be imbedded within a larger Eternalism, or may float before it,
quickly outgrow flicker. Yet in doing so some other illusion or move—Substantial yet ghostlike—through it.
istic potentials of the art, very curious departures from life StereoVision and Special Requirements of Eternalism Com
like representation, were never discovered, their expressive position
potential left untapped, until now.                                   Eternalism images may be so composed as to create an
Method                                                             impression of 3-dimensional volume, designed to appear
   Visible flicker is essential to Eternalism technique, which more or less realistic, but never with the degree of realism as
investigates and utilizes different intensities of emphasis, to fool anyone that they are other than images. No one will
frame choices and frame-counts offlicker in order to create        ever attempt to sinka hand into one to grab at passing fish as
entirely new illusions to augment cinema's repertoire of 25 children do at Sony I-MAX. Eternalism depth is readily
visual effects. Today's audiences are entirely receptive to apparent and yet more problematic, as is its character of
non-realistic representation, the textures of visual technolo movement. Depth isn't simple there to be taken for granted,
gies are no longer unwelcome onscreen. Visible flicker does but seems constantly caught in the act of being generated out
Sometimes appearin movies in purposeful ways, usually rep of flat elements. Eternalism is an illusion of depth. Our minds
resenting lightning or machine-gun bursts, and even as rhyth 30 are given the task of entertaining together two conflicting
mic hits of light-energy, but not with the methodology and impressions: of things simultaneously appearing both flat and
results of Eternalisms.                                            deep. However, the degree of 3-dimensionality that is there
   No less than three basic units, two pictures and a bridge can be seen without need of special viewing devices of any
interval (A, B, C), are necessary to create an Eternalism, even sort, and in fact can be seen by many persons normally
when picture B might be only a slight modification, a shifting 35 deprived of any 3-dimensional vision (those missing sight in
or size reduction or expansion or tilting, etc. of picture A. On one eye, for instance).
the simplest level, the series of units would proceed: A, B, C,       Depth as well as ongoing movement must be artificially
A, B, C, A and so on. Each unit interval may be of any composed in the making of Eternalisms. Calculated place
effective time duration, an effective smooth-working dura ment of areas to be brought into working correspondence
tion for computer assembling is two frames per unit, shown 40 within a picture A and picture B is of paramount importance.
here as AA, B,B, C,C, AA, B,B, C,C, AA and so on. It is               It does happen that images are recorded on film or in
Sometimes desired to insert transitional frames, usually electronic media that work effectively enough when sequen
50/50% (percentage mixture may vary) superimposed frames tially overlayed with each other as-is, so as to need little or no
of adjacent units, shown here as: A, A/B, B, B/C, C, C/A, A cut-and-paste rearrangement. But more often there are areas
and so on.                                                      45 not adequately corresponding in sequential location and
   Additionally, all re-appearances of the basic cycling units therefore, when alternated quickly, will merely bounce back
comprising an Eternalism needn't be exactly the same. Strict and forth from place (in A-frame) to place (in B-frame). In
mechanical repetition can give way to flexible variation normal stereo-vision ones two eyes angle in and out from
within the limits imposed by what is necessary to Sustain the parallel alignment as they match corresponding areas on their
motion/depth illusion (unless one chooses to abandon the 50 two retinal images. Each retinal image is in fact 2-dimen
illusion entirely for a period of time; it is expected that for sional; 3-dimension vision is a result of this muscular match
commercial movie use of the method, that the effect would be       ing, this pulling-into-alignment activity performed by
used intermittently, for selected Scenes). Any number of fac muscles Surrounding the eyes (as dictated to by viewers focus
tors comprising a unit-sequence may be altered from appear of interest) activity by the eyes and the mental comparing and
ance to appearance as it cycles, including colors, shapes, 55 processing of like and unlike information sent by each eye to
placement of shapes, objects pictures, unit duration, etc., so the brain. Only within a very limited interval of actual depth,
that the same Eternalism would seem to remain in play while up to about twenty five feet distance for most humans, can we
going through subtle or even vibrant internal changes, before effectively shift and overlay forms so as to discriminate depth
being replaced by a successive phase of motion or a distinctly accurately (eyes work in parallel beyond that distance, with
other selection of picture/interval units. Change in the order 60 greatly reduced depth distinction). The closer to the eyes the
of units, such as A, B, C, A, B, C, Abeing replaced by B. A. target of focus, the more the eyes have to cross, and the
C, B, A, C, B would initiate an immediate reversal indirection     different degrees or angles of crossing demanded as things
of pictured movement. Varying durations of units within an approach or recede means that while one layer of depth will
Eternalism or traveling from Eternalism to Eternalism may be properly shifted to overlay figures, others will not be.
not only make for desired beat and rhythm changes but also 65 Selective focusing and shift in real-life visual experience,
affect the apparent character of motion and/or depth in inter selectively attending to the 3-D figures creates in the mind,
esting ways. A composer of a series may even choose to play while ignoring helped by a "dominant eye' the remaining
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non-overlayed and doubled flat figures remaining in the twin audio also demands little computer-memory) would commu
fields of vision, peripheral to the focus of attention.             nicate so much more than a still and flat image, or even a
   Ignoring such peripheral mismatchings in Eternalisms moving but flat image.
does not come so naturally. Because the image pictures alter          The foregoing Detailed Description is to be understood as
nate in appearance, they don't quietly Superimpose (with one being in every respect illustrative and exemplary, but not
image largely discarded from mind due to our having a restrictive, and the scope of the invention disclosed herein is
"dominant eye’): non-overlayed areas will tend to jiggle and not to be determined from the Detailed Description, but rather
bounce, usually a distraction. Unless that is the effect wanted from       the claims as interpreted according to the full breadth
in a particular instance, the procedures of artificially overlay 10 permitted by the patent laws. It is to be understood that the
ing A and B picture-areas for the viewer will be carried out tive   embodiments shown and described herein are only illustra
throughout an Eternalism composition, into all peripheral modifications  of the principles of the present invention and that various
areas of the picture. Again, this can be done employing com without departing        may be implemented by those skilled in the art
puter graphics cut-and-paste techniques, with the filling of Those skilled in thefrom     art
                                                                                               the Scope and spirit of the invention.
                                                                                              could implement various other feature
areas left emptied (by removal or shifting of a form) usually 15 combinations without departing         from the scope and spirit of
accomplished by the extending of adjacent colors.                   the invention.
   Picture-frames A and B may be near-identical or have only          The invention claimed is:
Some elements with close visual correspondence. Similarity             1. A system for presenting a video, the system comprising:
of shape and location within the frame are important factors          an apparatus comprising:
determining the effect. This is true to the point that entirely           a storage adapted to:
different pictured objects but of similar shape and on-screen                store one or more image frames associated with a
location will give better results than two images of the same                   video; and
object recorded from perspectives too far apart or placed too             a processor adapted to:
far apart within consecutive frames, in which case the images                reshape a portion of at least one of the one or more
will be seen to vibrate or bounce back and forth without 25                     image frames; and
visually combining into a single moving form. While match                    cause the one or more image frames to be displayed;
ing image elements in pictures A and B must occupy almost                       and
the exact screen-space in order to combine properly, it will be       an electrically controlled spectacle comprising:
the differences between them (within close tolerances) that               a spectacle frame;
will produce and determine the character of movement and 30               optoelectronic lenses housed in the frame, the lenses
dimensionality. Computer graphics cut-and-paste techniques                   comprising a left lens and a right lens, each of the
can be used to select and place, shrink and expand and oth                   optoelectrical lenses having a plurality of states,
erwise manipulate matching elements (from any source) into                   wherein the state of the left lens is independent of the
effective screen-locations relative to each other. One or both               state of the right lens; and
pictures may be collaged or Stitched together from multiple 35            a control unithoused in the frame, the control unit being
Sources, parts may be removed or inserted, lifted and                        adapted to control the state of each of the lenses inde
reshaped or/and relocated. Even when the image is photo                      pendently:
graphed from life and appears life-like, the process of com               wherein each of the lenses has a dark State and a light
position can be as exacting and labor-intensive and involved                 state; and
with techniques of artifice as cartoon animation.                40       wherein when viewing the video the control unit places
Embodiments                                                                  both the left lens and the right lens to a dark state.
   In practice, the implementation of this technique opens up         2. An apparatus comprising:
a new world of visual effects. Its uncanniness may be empha           a storage adapted to:
sized to create unsettling time-space aberrations for comic or            store one or more image frames; and
dramatic effect in movies. Or, aiming for more realistic 45 a processor adapted to:
appearance, the method could be used to provide more lively               obtain a first image from a first video stream;
"Snapshots of familiar things and events. For instance,                   obtain a second image from a second video stream,
people could carry, programmed into a PalmPilot-type “elec                   wherein the first image is different from the second
tronic wallet’, a great many (low memory demanding) mov                      image:
ing replicas of loved ones in characteristic living gestures, 50          Stitch together the first image and the second image to
with heightened 3-dimensional presence. Even very limited                    generate a stitched image frame;
movement, limited 3-dimensionality, can enormously aug                    generate a first modified image frame by removing a first
ment and reinforce visual information: i.e., a child’s face                  portion of the Stitched image frame;
breaks into a Smile. Again, the very low demand of electronic             generate a second modified image frame by removing a
memory by an Eternalism (cycling as few as two picture 55                    second portion of the Stitched image frame;
frames with an interval of darkness), makes possible exten                generate a third modified image frame by removing a
sively illustrated electronic catalogues or even encyclopedias,              third portion of the stitched image frame;
Supporting hundreds and eventually thousands of Eternalized               wherein the first modified image frame, the second
illustrations. A reader-viewer might observe a home appli                    modified image frame, and the third modified image
ance in operation. Or study a visual sampling of an ocean 60                 frame are different from each other;
wave breaking in its Sweep to shore, study it as has never been           identify a bridge frame;
possible before, forever breaking from peak ascendancy. One               blend the first modified image frame with the bridge
may study a springing cat, sheath of muscles sliding over ribs               frame to generate a first blended frame;
continually, available for sustained observation; or follow a             blend the second modified image frame with the bridge
clear demonstration of the direction a screwdriver must turn 65              frame to generate a second blended frame;
to further imbed a screw. Any number of instances where                   blend the third modified image frame with the bridge
Stereo-dimensional action (often audio-accompanied, as                       frame to generate a third blended frame;
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    overlay the first blended frame, the second blended
      frame, and the third blended frame to generate a com
      bined frame;
     display the combined frame.
  3. The apparatus of claim 2, further comprising:      5
  spectacles adapted to be worn by a viewer of a video.
  4. The apparatus of claim 2, wherein the bridge frame
comprises a non-Solid color.
                     k   k   k   k   k
